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   Nos. 3:21-cv-167-DJN (Lead), 3:21-cv-166 & 3:21-cv-00205 (Consolidated)
             IN THE UNITED STATES DISTRICT COURT FOR
                 THE EASTERN DISTRICT OF VIRGINIA
                              _______________________
                        IN RE RETAIL GROUP INC., ET AL.,
                                                    Debtors,
                              _______________________
                JOEL PATTERSON, ET AL. & JOHN P. FITZGERALD, III,
                 ACTING UNITED STATES TRUSTEE FOR REGION 4,
                                                  Appellants,
                                       v.
                      MAHWAH BERGEN RETAIL GROUP, INC.,
                                                  Appellee.
                              _______________________
               On Appeal from the United States Bankruptcy Court
                      for the Eastern District of Virginia
                     Bankruptcy Case No. 20-33113-KRH
                              ________________

                     RESPONSE BRIEF FOR APPELLEE
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                              ________________
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                                  INTRODUCTION

       In July 2020, amidst a once-in-a-century global pandemic that generated

 worldwide lockdowns, Ascena Retail Group, Inc. and its affiliates (collectively,

 “Ascena”)—which operated specialty retail brands for women and girls—filed for

 Chapter 11 bankruptcy.       Notwithstanding “unprecedented economic turmoil,”

 Ascena achieved an “absolutely phenomenal” result, as the bankruptcy court aptly

 put it. UST.App.2856, 2782. With the aid of its officers, directors, advisors, credi-

 tors, and other critical parties, Ascena entered into transactions that kept its brands

 alive as going-concerns, thus saving “tens of thousands of jobs,” providing “contin-

 ued rent to landlords,” preserving vendors’ ability “to supply their product,” and

 allowing consumers to continue to “shop their favorite brands.” UST.App.2781,

 2856, 2884, 2902. In conjunction with these transactions, Ascena negotiated with

 stakeholders a plan of reorganization governing its “complex and multi-faceted re-

 structuring”   and   dictating   distributions   of   the   transactions’    proceeds.

 UST.App.2901. That plan attracted broad support, and in February 2021—over six

 months ago and counting—the bankruptcy court entered an order confirming it. One

 week later, in March 2021, the plan took full effect, bringing Ascena’s “highly suc-

 cessful” restructuring to a close. UST.App.2902 n.19.

       Given that laudable—but by no means foreordained—outcome, virtually none

 of the hundreds of thousands of parties affected by Ascena’s restructuring sought to
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 challenge the bankruptcy court’s confirmation order on appeal. But after some de-

 lay, a handful of parties have done so: (1) two private plaintiffs who filed a putative

 securities class action against Ascena and two of its former officers before Ascena’s

 Chapter 11 cases commenced (the “Securities Plaintiffs”); and (2) the Acting U.S.

 Trustee for Region 4 (“U.S. Trustee”) (together, “Appellants”). Appellants first

 challenge a provision of the reorganization plan—the “Third-Party-Release Provi-

 sion”—under which certain non-debtor parties agreed to release potential claims

 against certain other non-debtor parties, including parties whom Ascena has an ob-

 ligation to indemnify in any litigation. Additionally, the U.S. Trustee (but not the

 Securities Plaintiffs) challenges a plan provision—the “Exculpation Provision”—

 that protects from negligence suits parties who played an integral role in Ascena’s

 restructuring, while permitting suits involving allegations of serious misconduct to

 proceed.

       In a series of thorough opinions, the bankruptcy court correctly rejected Ap-

 pellants’ fundamentally misguided arguments about these provisions—which were,

 and remain, integral to Ascena’s restructuring and cannot be severed from the plan.

 Furthermore, the reasons for affirmance have only increased in the intervening

 months. Indeed, this Court should not even entertain Appellants’ arguments on the

 merits, for this appeal is equitably moot. Under that well-established bankruptcy

 doctrine, a reviewing court may decline to disturb a plan of reorganization when it



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 would be inequitable to do so in light of other parties’ reliance on the plan’s substan-

 tial consummation over the passage of time. Given that the plan here took effect

 over a half-year ago, every equitable-mootness factor readily supports application of

 the doctrine, warranting dismissal of this appeal at the threshold.

       If this Court turns to the merits, however, affirmance is plainly warranted.

 Bankruptcy courts have broad equitable authority to confirm reorganization plans

 containing any necessary and appropriate provisions, and third-party-release and ex-

 culpation provisions of the sort here are two of the most common such provisions.

 In fact, although courts have widely recognized that even nonconsensual third-party-

 release provisions are permissible, the Third-Party-Release Provision here is con-

 sensual: Affected parties received sufficient notice of the provision and an oppor-

 tunity to opt-out of it, and hundreds of parties did so—including the Securities Plain-

 tiffs themselves. Further, as courts have likewise widely recognized, exculpation

 provisions are permissible if they are properly limited and not overly broad, and the

 Exculpation Provision here remains well within those confines: It applies only to a

 limited number of parties and a limited set of claims over a limited time period. The

 Third-Party-Release and Exculpation Provisions here thus are no different from

 other provisions that courts nationwide repeatedly approve.

       Appellants nevertheless advance a litany of arguments against the Third-

 Party-Release and Exculpation Provisions. Indeed, Appellants identify no fewer



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 than eleven issues, across 139 pages of prolix briefing, purportedly demonstrating

 the bankruptcy court’s error. As the Supreme Court has observed, asserting a

 “[m]ultiplicity” of errors on appeal “hints at lack of confidence in any one.” Jones

 v. Barnes, 463 U.S. 745, 752 (1983). That teaching perfectly describes Appellants’

 submissions here, which are teeming with uniformly incorrect contentions and ap-

 pear more directed toward self-interestedly maintaining a meritless class-action suit

 (in the case of the Securities Plaintiffs) or advancing a policy position inconsistent

 with precedent, the Bankruptcy Code, and longstanding bankruptcy practice (in the

 case of the U.S. Trustee). Appellants lack standing to press a number of their argu-

 ments, and they have forfeited others. And all of their remaining arguments either

 badly misinterpret the Bankruptcy Code, relevant precedent, or the record—some-

 times all three. Thus, although this Court need not and should not dive into the

 merits or the 11,000 pages of appendix materials because this appeal is equitably

 moot, Appellants ultimately do nothing to undermine the bankruptcy court’s well-

 supported determinations about the propriety of the Third-Party-Release and Excul-

 pation Provisions. Accordingly, this Court should either dismiss this appeal as eq-

 uitably moot or affirm.

                           JURISDICTIONAL STATEMENT

       The bankruptcy court had jurisdiction under 28 U.S.C. §157(a)-(b) and

 §1334(a). This Court has jurisdiction under 28 U.S.C. §158(a)(1).



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                            STATEMENT OF THE ISSUES

         1. Whether this appeal is equitably moot.

         2. Whether the bankruptcy court properly approved the Third-Party-Release

 Provision.

         3. Whether the bankruptcy court properly approved the Exculpation Provi-

 sion.

         4. Whether the bankruptcy court properly addressed confirmation issues at

 the confirmation stage.

                              STANDARD OF REVIEW

         This Court reviews a bankruptcy court’s legal conclusions de novo, its factual

 findings for clear error, and its discretionary decisions for abuse of discretion. Cop-

 ley v. United States, 959 F.3d 118, 121 (4th Cir. 2020). The Court has discretion to

 decide whether an appeal is equitably moot. In re Charter Commc’ns, Inc., 691 F.3d

 476, 483 (2d Cir. 2012).

                            STATEMENT OF THE CASE

         A.    Legal Framework

         1. The Bankruptcy Code permits companies to file for bankruptcy under ei-

 ther Chapter 7 or Chapter 11. In a Chapter 7 bankruptcy, a trustee liquidates a com-

 pany’s pre-petition assets and distributes them to creditors. See 11 U.S.C. §701 et




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 seq.1 In a Chapter 11 bankruptcy, the objective is different. See §1101 et seq. The

 “two recognized policies underlying Chapter 11” are “preserving going concerns

 and maximizing property available to satisfy creditors.” Bank of Am. Nat’l Tr. &

 Sav. Ass’n v. 203 N. LaSalle St. P’ship, 526 U.S. 434, 453 (1999). Consistent with

 those policies, “[i]n Chapter 11, debtor and creditors try to negotiate a plan that will

 govern the distribution of valuable assets from the debtor’s estate and often keep the

 business operating as a going concern.” Czyzewski v. Jevic Holding Corp., 137 S.Ct.

 973, 978 (2017). Obtaining plan confirmation is therefore “the statutory goal of

 every chapter 11 case.” 7 Collier on Bankruptcy ¶1129.01 (16th ed. 2021) (“Col-

 lier”).

           Section 1129 of the Bankruptcy Code sets forth the minimum requirements

 that a Chapter 11 debtor must satisfy to achieve plan confirmation. See §1129; see

 7 Collier ¶1129.01. Under §1129(a)(1), the plan must “compl[y] with the applicable

 provisions of [the Bankruptcy Code].” §1129(a)(1). Section 1123(a) enumerates

 various provisions that a plan “shall” contain. See §1123(a); see also 7 Collier

 ¶1123.01. Section 1123(b), however, provides that a plan “may” contain various

 other provisions, including “any other appropriate provision not inconsistent with




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  All further statutory references are to Title 11 of the U.S. Code unless otherwise
 noted.


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 the applicable provisions of [the Code].” §1123(b)(6); see 7 Collier ¶1123.02. Re-

 latedly, §105(a) of the Code empowers a bankruptcy court to “issue any order, pro-

 cess, or judgment that is necessary or appropriate to carry out the provisions of [the

 Code].” §105(a).

       In turn, bankruptcy courts routinely rely on §1123(b)(6) or §105(a)—or

 both—to approve two particular types of plan provisions. The first is a so-called

 third-party-release provision, under which a non-debtor releases claims against an-

 other non-debtor. See 7 Collier ¶1123.02[6][a]; 2 Collier ¶105.04. Third-party-

 release provisions can be “nonconsensual” or “consensual.”           UST.App.2782.

 “[T]here is a circuit split regarding whether bankruptcy courts have the authority to

 confirm chapter 11 plan provisions that provide for nonconsensual releases of liabil-

 ity of nondebtors,” 7 Collier ¶1123.02[6][a]—albeit a lopsided one, since the over-

 whelming majority of circuits, including the Fourth Circuit, permit such releases

 under certain conditions. See Behrmann v. Nat’l Heritage Found., 663 F.3d 704 (4th

 Cir. 2011). But there is no such split over “consensual” releases, which are “gener-

 ally approve[d],” since “a consensual third-party release” in a reorganization plan

 “is no different from” a consensual release in “any other contract or settlement.” 8

 Collier ¶1141.02[5][b].




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       Furthermore, bankruptcy courts around the country have recognized that a

 third-party release is consensual when a debtor provides adequate notice of the pro-

 vision to affected third parties and an opportunity to opt-out. See, e.g., In re Stein

 Mart, Inc., 2021 WL 1216557, at *5 (Bankr. M.D. Fla. Mar. 29, 2021); In re Vista

 Proppants & Logistics, LLC, 2020 WL 6325526, at *7 (Bankr. N.D. Tex. Oct. 28,

 2020); In re Gen. Wireless Operations Inc., 2017 WL 5461361, at *10 (Bankr. D.

 Del. Oct. 26, 2017); In re Indianapolis Downs, LLC., 486 B.R. 286, 306 (Bankr. D.

 Del. 2013); In re DBSD N. Am., Inc., 419 B.R. 179, 218 (Bankr. S.D.N.Y. 2009); In

 re Conseco, Inc., 301 B.R. 525, 528 (Bankr. N.D. Ill. 2003). The U.S. Bankruptcy

 Court for the Eastern District of Virginia is no exception. Indeed, as Appellants have

 acknowledged, virtually every confirmed plan in every complex bankruptcy case

 there includes consensual third-party-release provisions of this variety. See, e.g.,

 Dkt.18 at 2 (U.S. Trustee providing 11 examples).

       The second “commonplace provision in Chapter 11 plans” that bankruptcy

 courts regularly approve under §1123(b)(6) or §105(a) is an exculpation provision.

 Blixseth v. Credit Suisse, 961 F.3d 1074, 1085 (9th Cir. 2020) (quoting In re PWS

 Holding Corp., 228 F.3d 224, 245 (3d Cir. 2000)); see also, e.g., In re Alpha Nat.

 Res., Inc., 556 B.R. 249, 263 (Bankr. E.D. Va. 2016). Unlike a release provision,

 which “eliminat[es]” the released party’s liability “altogether,” an exculpation pro-




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 vision has a narrower focus and merely “sets forth the applicable standard of liabil-

 ity” for future litigation, PWS Holding Corp., 228 F.3d at 247—for example, claim-

 ants must demonstrate that an exculpated party committed “gross negligence” or

 “willful misconduct,” not just mere negligence, In re Health Diagnostic Lab’y, Inc.,

 551 B.R. 218, 234 (Bankr. E.D. Va. 2016). “[E]xculpations are necessary to ensure

 that capable, skilled individuals are willing to assist in the reorganization efforts in

 chapter 11 cases” and are not “second-guessed and hounded by meritless claims fol-

 lowing the conclusion of the bankruptcy case.” Alpha, 556 B.R. at 260-61. Accord-

 ingly, exculpation provisions are “approved … in a number of chapter 11 cases”—

 including many filed in the U.S. Bankruptcy Court for the Eastern District of Vir-

 ginia—provided they are “properly limited and not overly broad.” Health Diagnos-

 tic, 551 B.R. at 233-34.

       2. Once a bankruptcy court enters an order confirming a plan, an objecting

 party’s ability to disturb that plan on appeal is circumscribed by at least two “spe-

 cialized legal doctrines.” Mar-Bow Value Partners, LLC v. McKinsey Recovery &

 Transformation Servs. US, LLC, 2017 WL 4414155, at *18 n.43 (E.D. Va. Sept. 30,

 2017). First, an appellant must overcome the doctrine of “equitable mootness,”

 which “is a pragmatic principle, grounded in the notion that, with the passage of time

 after a judgment in equity and implementation of that judgment, effective relief on

 appeal becomes impractical, imprudent, and therefore inequitable.” Mac Panel Co.



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 v. Va. Panel Corp., 283 F.3d 622, 625 (4th Cir. 2002); see 7 Collier ¶1129.09. Eq-

 uitable mootness is “[a]pplied principally in bankruptcy proceedings because of the

 equitable nature of bankruptcy judgments,” and it “is often invoked when it becomes

 impractical and imprudent ‘to upset the plan of reorganization at this late date.’”

 Mac Panel, 283 F.3d at 625. To determine whether a bankruptcy appeal is equitably

 moot, courts within the Fourth Circuit consider four factors: “(1) whether the appel-

 lant sought and obtained a stay; (2) whether the reorganization plan or other equita-

 ble relief ordered has been substantially consummated; (3) the extent to which the

 relief requested on appeal would affect the success of the reorganization plan or other

 equitable relief granted; and (4) the extent to which the relief requested on appeal

 would affect the interests of third parties.” In re U.S. Airways Grp., Inc., 369 F.3d

 806, 809 (4th Cir. 2004).

       Second, if an appellant can overcome the equitable-mootness doctrine, he

 must further demonstrate that he is a proper party to appeal. To that end, the appel-

 lant must establish “bankruptcy appellate standing,” which “requires more than the

 showing required by Article III.” Mar-Bow Value Partners, LLC v. McKinsey Re-

 covery & Transformation Servs. U.S., LLC, 469 F.Supp.3d 505, 524 (E.D. Va. 2020)

 (Novak, J.). More precisely, under the standard for bankruptcy appellate standing,

 only an appellant “‘directly and adversely affected pecuniarily’ by the entry of an




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 order” from a bankruptcy court may prosecute a bankruptcy appeal. Id. at 523; see

 also 7 Collier ¶1109.08; 1 Collier ¶5.07.

       B.     Factual and Procedural Background

       1. This appeal concerns the Chapter 11 plan of Ascena, a leading retailer for

 women and girls whose operations began in 1962. See UST.App.1024. Over the

 years, Ascena acquired the Ann Taylor, LOFT, Lane Bryant, Justice, and Catherines

 brands (among others), and by 2020, it operated approximately 2,800 stores and em-

 ployed nearly 40,000 people. UST.App.998, 1024-25.

       Ascena was adversely affected in recent years by consumers’ shift toward

 online shopping. See UST.App.999. Ascena was then hit hard in March 2020 by

 the onset of COVID-19, which generated unprecedented government-mandated

 lockdowns. See UST.App.1026. In response, Ascena temporarily closed all of its

 stores and implemented salary reductions and furloughs throughout its workforce.

 See UST.App.1026. By July 2020, Ascena had approximately $1.6 billion in funded

 debt obligations to service, due either to senior secured term lenders (“Term Lend-

 ers”) or secured asset-based lenders (“ABL Lenders”). See UST.App.998-99, 2878.

       2. On July 23, 2020, Ascena voluntarily filed for Chapter 11 bankruptcy in

 the U.S. Bankruptcy Court for the Eastern District of Virginia. See UST.App.1, 293-

 311. Before the petition date, and to facilitate an orderly restructuring, Ascena en-

 tered into a Restructuring Support Agreement (“RSA”) with the support of nearly



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 70% of the Term Lenders. See UST.App.2839. The RSA contemplated a balance-

 sheet restructuring but provided flexibility for Ascena to consider more value-max-

 imizing alternatives should they arise. See UST.App.2839. Shortly after the petition

 date, Ascena filed its proposed plan of reorganization, see UST.App.312, which—

 consistent with the RSA—would have converted the debt held by the Term Lenders

 into equity in a reorganized Ascena. See UST.App.2839.

       As the bankruptcy cases progressed, Ascena shifted from a debt-to-equity

 conversion to three consummated sale transactions. See UST.App.2839-40. Ascena

 sold its Catherines assets for over $40 million, its Justice assets for over $70 million,

 and its Lane Bryant and various premium assets—including Ann Taylor and

 LOFT—for $540 million.         See UST.App.2259-66, 2350.          Ascena accordingly

 amended the RSA, which attracted the support of 97% of the Term Lenders. See

 UST.App.2841.

       Ascena also amended its plan of reorganization to provide for distribution of

 sale proceeds and complete the restructuring. See UST.App.2841. Ascena would

 pay priority claimants, administrative claimants, and the ABL Lenders in full on the

 plan’s effective date, establish a trust for the benefit of general unsecured creditors

 (“GUC Trust”) funded with $7.25 million in cash—fifteen times the amount they

 would have received under the original plan—and distribute remaining proceeds to




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 the Term Lenders. See UST.App.2839, 2841, 2856. As in the original plan, how-

 ever—and as is common in bankruptcy—Ascena’s shareholders would not receive

 any recovery under the new plan and therefore had no right to vote on it. See

 UST.App.2841; §1126(g).

           Ascena and its stakeholders also negotiated and included release and exculpa-

 tion provisions in the plan. First, in Article VIII.F (titled “Release by Holders of

 Claims or Interests”), the plan included the Third-Party-Release Provision, which

 states:

           [E]ach Releasing Party … is deemed to have released and discharged
           each Debtor, Reorganized Debtor, and each other Released Party from
           any and all Causes of Action, whether known or unknown, including
           any derivative claims, asserted or assertable on behalf of any of the
           Debtors … based on or relating to, or in any manner arising from, in
           whole or in part, the Debtors (including the management, ownership or
           operation thereof), the purchase, sale, or rescission of any Security of
           the Debtors or the Reorganized Debtors, the subject matter of, or the
           transactions or events giving rise to, any Claim or Interest that is treated
           in the Plan, … or any other related agreement, or upon any other act,
           omission, transaction, agreement, event, or other occurrence (in each
           case, related to any of the foregoing) taking place on or before the Ef-
           fective Date.

 UST.App.2659. “Releasing Party” is defined to include holders of claims impaired

 under the plan, as well as former and current Ascena shareholders. UST.App.2625.

 It expressly excludes, however, any party who “opt[s] out of the release[]” or who

 “timely object[s] to the release[] … and such objection is not resolved before Con-

 firmation.” UST.App.2625. “Released Party” is defined to include Ascena as well



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 as its current and former “equity holders,” directors, and officers. UST.App.2625.

 An equity holder who opts out of the Third-Party-Release Provision, however, “shall

 not be a ‘Released Party.’” UST.App.2625. Thus, an Ascena shareholder is both a

 “Releasing Party” and a “Released Party” under the Third-Party-Release Provision,

 but if the shareholder opts-out of that provision and chooses not to be a “Releasing

 Party,” he is no longer a “Released Party,” either, and is thus exposed to litigation

 risk. UST.App.2625. Furthermore, although the plan provides an “Avoidance Ac-

 tion Waiver” under which Ascena agreed to waive “any and all” avoidance actions,

 a party who opts-out of the Third-Party-Release Provision “shall not receive the

 ‘Avoidance Action Waiver.’” UST.App.2616, 2625, 2647; see also UST.App.2846.

       Second, in Article VIII.G (titled “Exculpation”), the plan included the Excul-

 pation Provision, which states:

       [N]o Exculpated Party shall have or incur, and each Exculpated Party
       is hereby released and exculpated from any Cause of Action or any
       claim arising from the Petition Date through the Effective Date related
       to any act or omission in connection with, relating to, or arising out of,
       the Chapter 11 Cases … except for claims related to any act or omission
       that is determined in a Final Order to have constituted actual fraud,
       willful misconduct, or gross negligence.

 UST.App.2659-60. “Exculpated Parties” is defined to include Ascena and certain

 non-estate fiduciaries who played a critical role in the bankruptcy cases. See

 UST.App.2620.




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       Before including the Third-Party-Release and Exculpation Provisions in its

 plan, Ascena appointed a special committee of disinterested directors to examine

 their propriety. See UST.App.2844; see also Patterson.App.7037-42. The special

 committee investigated, inter alia, the merits of the putative securities class action

 filed by the Securities Plaintiffs in June 2019 against Ascena and two of its former

 officers in the U.S. District Court for the District of New Jersey in June 2019 (the

 “Securities Litigation”). See Patterson.App.7041 (discussing In re Ascena Retail

 Grp., Inc. Sec. Litig., No. 2:19-cv-13529-KM-JBC (D.N.J.)). The special committee

 found no “colorable claims” implicated by the Third-Party-Release and Exculpation

 Provisions, and it specifically deemed the Securities Litigation “without merit” and

 without “material value.” Patterson.App.7041-42. It additionally concluded that,

 even if colorable claims existed against Ascena managers, directors, or officers, any

 recovery in any litigation would negatively affect Ascena’s estate given Ascena’s

 indemnification obligations. See Patterson.App.7041; UST.App.2844-45.

       Once Ascena included the Third-Party-Release and Exculpation Provisions in

 the plan, it also explained in the plan that those provisions are critical to the plan’s

 success. Accordingly, Article XII.J (titled “Nonseverability of Plan Provisions”)

 provides that a court order confirming the plan “shall constitute a judicial determi-

 nation … that each term and provision of the Plan”—including the Third-Party-Re-

 lease and Exculpation Provisions—“is … integral to the Plan and may not be deleted



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 or modified without [Ascena’s] consent” and is “nonseverable and mutually depend-

 ent.” UST.App.2667.

       3. To obtain plan confirmation, Ascena first had to secure court approval of

 the plan’s “disclosure statement,” which explained the plan’s features to voting par-

 ties and other interested stakeholders. See §1125. The U.S. Trustee, the Securities

 Plaintiffs, and the SEC each filed an objection to the disclosure statement. The U.S.

 Trustee argued that the Third-Party-Release Provision could not satisfy the various

 factors that the Fourth Circuit discussed in Behrmann, which addressed a noncon-

 sensual third-party-release provision, and that giving parties notice and an oppor-

 tunity to opt-out of that provision deprived those parties of their ability to consent to

 it. See UST.App.705-11. The U.S. Trustee further argued that the Exculpation Pro-

 vision is “[i]mpermissibly [b]road.” UST.App.711-12. The U.S. Trustee recog-

 nized, however, that “consideration of the release and exculpation provisions is, ar-

 guably, a matter for a confirmation hearing rather than a hearing on approval of a

 proposed disclosure statement,” and he ultimately “resolved” his objections before

 the disclosure-statement hearing, on the understanding that he could press them at

 the confirmation stage. See UST.App.713, 920. The U.S. Trustee therefore did not




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 present argument regarding the Third-Party-Release and Exculpation Provisions at

 the disclosure-statement hearing. See UST.App.913-42; UST.Br.16 n.6.2

       As such, the disclosure-statement hearing focused on objections by the Secu-

 rities Plaintiffs and the SEC. Those parties asserted the same objections to the Third-

 Party-Release Provision as the U.S. Trustee, with the Securities Plaintiffs purporting

 to argue not just for themselves, but also for members of the putative class in the

 Securities Litigation. See UST.App.719-25, 729-57. The SEC additionally asserted

 that any opt-out notice provided to current and former Ascena shareholders should

 state “in plain English[] what is expected of them,” and it provided suggested lan-

 guage. UST.App.725-26 & n.2; see UST.App.919-42.

       The bankruptcy court deferred to the confirmation stage all arguments regard-

 ing the legality of the Third-Party-Release and Exculpation Provisions, and it ap-

 proved the disclosure statement. See UST.App.942, 980-88. In so doing, the bank-

 ruptcy court ordered Ascena to undertake two actions. First, the opt-out notices sent

 to Ascena shareholders had to include the SEC’s suggested language.                See

 UST.App.936-38, 942. Second, Ascena had to coordinate with counsel for the Se-




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   The disclosure statement technically addressed Ascena’s original plan, but the
 Third-Party-Release and Exculpation Provisions did not materially change in the fi-
 nal, confirmed plan. Accord UST.Br.14 n.5


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 curities Plaintiffs regarding how to “give adequate notice to as many people as pos-

 sible” in the putative class in the Securities Litigation. UST.App.938, 940; see

 UST.App.941. In response, counsel for the Securities Plaintiffs stated that, “[u]nfor-

 tunately, this isn’t a case where it’s as simple as just giving [Ascena] a mailing list

 of who the class members are,” but would rather “involve [Ascena], through [its]

 claims and noticing agent, taking certain steps to distribute notices through nominee

 brokers”—i.e., the entities holding shares on behalf of many shareholders.

 UST.App.940-41.

       4. Soon thereafter, Ascena—operating through Prime Clerk, the court-ap-

 proved claims-and-noticing agent—distributed voting-related materials to parties

 entitled to vote on the plan. UST.App.2849. Additionally, through a “comprehen-

 sive process,” it distributed opt-out materials to approximately 300,000 parties, in-

 cluding current and former Ascena shareholders (who were not entitled to vote on

 the plan). UST.App.2849. Those shareholders included “registered” shareholders,

 who held shares in their own names, and “beneficial” holders, who held shares

 through nominees. See UST.App.2848. As to registered shareholders, Ascena

 served the opt-out materials on them directly via first-class mail.                See

 UST.App.2848-49. As to beneficial shareholders, Ascena served the opt-materials

 on the nominees and provided the nominees with two options: (1) the nominees

 could send the materials directly to shareholders, or (2) the nominees could provide



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 Ascena with shareholder contact information so that Ascena could send the materials

 directly to shareholders. See UST.App.2849.

         In accordance with the SEC’s request, the opt-out materials provided to share-

 holders contained the following message on the first page (with the border and all

 formatting in the original):

  PLEASE READ – YOUR RESPONSE IS REQUIRED BY OCTOBER 13, 2020

            You are receiving this notice because you are a current or former
             shareholder of Ascena Retail Group, Inc., which filed for chapter 11
             bankruptcy.

            You will not receive any distribution in the bankruptcy case and your
             shares will be canceled.

            In addition, you will be deemed to have released whatever claims
             you may have against many other people and entities (including
             company officers and directors) unless you return the enclosed
             “Release Opt-Out Form” by October 13, 2020, at 5:00 P.M. pre-
             vailing Eastern Time.

            There will be no harm to you under the Plan if you return the Opt-
             Out Form; however, you will not receive a release.

            For more specific information and instructions, please read the Re-
             lease Opt-Out Form enclosed at the end of this notice as Exhibit A.


 UST.App.1541. The notice further explained that shareholders could opt-out of the

 Third-Party-Release Provision by returning a pre-addressed envelope with pre-paid

 postage or by registering their opt-out decision through a dedicated online portal.

 See UST.App.2847-48. Although shareholders originally had until October 13, 2020



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 to opt-out, Ascena extended the deadline to November 15, 2020, thus giving share-

 holders 60 days to make their decisions. See UST.App.2847 n.12.

       In the end, an overwhelming majority of parties entitled to vote on the plan

 voted in favor of it. See UST.App.2855 (noting that 97% of one voting class and

 87% of the other voting class voted in favor of the plan). Furthermore, 596 parties,

 including over 500 current or former shareholders—among them the two Securities

 Plaintiffs—opted-out of the Third-Party-Release Provision. See UST.App.2724,

 2849, 2872-73; Patterson.App.5893.

       5. In the middle of the 60-day opt-out period—on October 2, 2020—the Se-

 curities Plaintiffs filed a motion seeking authorization to opt-out of the Third-Party-

 Release Provision on behalf of all putative class members in the Securities Litiga-

 tion. Patterson.App.5002. In the alternative, they requested that the bankruptcy

 court certify a class under Federal Rules of Bankruptcy Procedure 7023 and 9014

 “for the limited purpose” of allowing them to opt-out of that release on behalf of

 putative class members in their case. Patterson.App.5003. Ascena objected, and

 instead of asking the bankruptcy court to promptly rule, the Securities Plaintiffs ad-

 journed consideration of the motion eight separate times, such that the bankruptcy

 court did not hear the motion until February 25, 2021—the same day that the court

 considered plan confirmation. See Patterson.App.5335, 5491, 5726, 6300, 6302,

 6304, 6554, 6680.



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       6. At the February 25 hearing, the bankruptcy court first addressed objections

 to confirmation. See UST.App.2673-2809. By that point, only the Securities Plain-

 tiffs, the U.S. Trustee, and the SEC, among hundreds of thousands of parties, con-

 tinued to object to Ascena’s proposed plan. In their written objections, these parties

 reiterated the arguments pressed at the disclosure-statement stage—namely, that the

 Third-Party-Release Provision failed to comply with the Fourth Circuit’s Behrmann

 decision and that affording parties notice and an opportunity to opt-out of that pro-

 vision did not constitute consent. See UST.App.2201-14, 2215-23, 2224-58, 2268-

 2313, 2314-17. The U.S. Trustee also reiterated his argument that the Exculpation

 Clause does not satisfy Behrmann and is overly broad. See UST.App.2315.

       At the confirmation hearing, however, only Ascena submitted evidence in

 support of the Third-Party-Release and Exculpation Provisions, and the U.S. Trustee

 declined to cross-examine any Ascena witnesses. See UST.App.2684-85. Thus, the

 bankruptcy court heard uncontroverted evidence from Ascena’s then-President and

 then-Interim Executive Chair that these provisions “were the product of extensive

 good-faith, arm’s length negotiations” and “were material inducements for the par-

 ties to enter into the comprehensive settlement embodied by the Plan,” and that they

 “were an integral part of the global settlement negotiated among the parties.”

 UST.App.2885; see UST.App.2330. In addition, the court heard uncontroverted ev-

 idence from a member of the special committee about that committee’s extensive



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 inquiry into the propriety of the Third-Party-Release and Exculpation Provisions and

 its conclusion that those provisions “were integral parts of the parties’ negotiations

 in reaching a holistic, successful restructuring.”      UST.App.2886; see Patter-

 son.App.7042. And the court also heard uncontroverted evidence about Ascena’s

 “comprehensive noticing process” regarding the Third-Party-Release Provision.

 UST.App.2886.

       After hearing the evidence and considering the arguments, the bankruptcy

 court confirmed the plan. See UST.App.2782. The court described the case as “ter-

 ribly complex” but also “terribly successful,” noting that it “allowed the enterprise

 to continue so that the jobs have been preserved, vendors can continue to supply

 their product, and we have the enterprise value that’s going to go on.”

 UST.App.2780-81. As the court put it, such an “absolutely phenomenal” outcome

 “in this environment” does not just “happen”; rather, it was the product of “all the

 constituencies” coming to “some sort of consensual resolution” that was “the best

 deal that could be put together.” UST.App.2780-82. The court specifically noted

 that “each part of the plan is very, very important” because it was “all part of the

 process that gets us to this point, and people have to rely on it.” UST.App.2781. In

 particular, the court observed, the plan’s releases “were integral to the process” be-

 cause they got the constituencies “invested in the process” and willing to “go[]




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 through” with it to the end. UST.App.2782. Those releases, moreover, were “con-

 sensual” and permissible in light of the “opt-out procedure.” UST.App.2782-83.

       The court subsequently elaborated on its decision in a detailed written opin-

 ion. See UST.App.2837-76. Addressing the Third-Party-Release Provision, the

 court explained that the Behrmann factors apply only when a plan’s releases “are

 non-consensual.” UST.App.2866. The court concluded that the Third-Party-Re-

 lease Provision is consensual because, by its “plain language,” the release “only ap-

 plies to parties who did not opt out or object to the Plan”; Ascena “employed all

 reasonable efforts to provide notice” to its current and former shareholders; and the

 opt-out notice “clearly, unambiguously, and conspicuously” gave shareholders “ad-

 equate information to allow them to make an informed decision concerning the

 Third-Party Release[],” as underscored by the fact that 596 parties opted-out.

 UST.App.2867, 2869-71. Finally, the court held that the Securities Plaintiffs lacked

 standing to contest the Third-Party-Release Provision given that they had, in fact,

 “opted out” of it. UST.App.2873.3

       The bankruptcy court then found the Exculpation Provision appropriate as

 well. The court explained that “the uncontroverted evidence established that the



 3
  The bankruptcy court also explained that, even if the Third-Party-Release Provision
 were nonconsensual, it would be permissible under Behrmann for the detailed rea-
 sons that Ascena provided in its confirmation brief. See UST.App.2874 n.28.


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 Exculpation Provision is narrowly tailored and appropriate under the circumstances”

 and that it is “an integral part of the Plan.” UST.App.2875. “Without the Exculpa-

 tion Provision,” the court continued, “there is no evidence that the stakeholders

 would have been willing and able to reach such a successful negotiated result in

 these Bankruptcy Cases and as encapsulated by the Plan.” UST.App.2875.

       In a separate opinion, the bankruptcy court denied the Securities Plaintiffs’

 motion to opt-out of the Third-Party-Release Provision on behalf of the putative

 class in the Securities Litigation. See Patterson.App.7654-59. After stating that the

 Securities Plaintiffs “inexplicably waited” to bring their motion on for hearing until

 confirmation—in an apparent attempt “to frustrate [Ascena]’s emergence from

 bankruptcy”—the court held that the Securities Plaintiffs “have no inherent authority

 to opt out of the Third-Party Release[] on behalf of the putative class” in the Securi-

 ties Litigation. Patterson.App.7645, 7654, 7658. The court also declined to certify

 a class under Bankruptcy Rule 7023, because the Securities Plaintiffs “g[a]ve no

 explanation for why the Court should apply Bankruptcy Rule 7023 in the first place.”

 Patterson.App.7655-56.

       7. On March 5, 2021, Ascena’s plan became effective and substantially con-

 summated. UST.App.2889; see UST.App.2464 (“‘Substantial Consummation’ of

 the Plan … shall be deemed to occur on the Effective Date.”). Among other things,

 Ascena has distributed over $378 million to holders of secured claims, including the



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 Term Lenders; paid approximately $2.7 million to holders of priority and adminis-

 trative claims; funded the GUC Trust with $7.25 million; assumed and assigned or

 rejected executory contracts and unexpired leases; and cancelled shares of common

 equity. See UST.App.2889; Bankr.Dkt.2308. The Third-Party-Release and Excul-

 pation Provisions, as well as all other provisions “integral” to the plan, took effect

 on March 5, too. UST.App.2897-98.

       On March 11, 2021—the very last day possible to notice an appeal—the Se-

 curities Plaintiffs appealed the confirmation order and the denial of their motion.

 Two weeks later, on March 25—the very last day possible for his appeal, see Fed.

 R. Bank. P. 8002(a)(3)—the U.S. Trustee appealed the confirmation order. Another

 five days passed before the U.S. Trustee, on March 30, moved to stay the Third-

 Party-Release and Exculpation Provisions pending the resolution of this appeal. See

 UST.App.2880. The bankruptcy court denied that motion in a lengthy opinion. See

 UST.App.2877-2904. Subsequently, the U.S. Trustee filed an almost identical mo-

 tion for stay in this Court, which was also denied. See Dkt.18.

                           SUMMARY OF ARGUMENT

       Ascena and its stakeholders achieved an “absolutely phenomenal” result

 amidst one of the most turbulent periods in recent history. Ascena’s plan—including

 its Third-Party-Release and Exculpation Provisions—is a core component of its

 overall restructuring effort, and the bankruptcy court properly confirmed it. Because



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 Appellants’ attack on the Third-Party-Release and Exculpation Provisions is flawed

 at every turn, the bankruptcy court’s judgment should not be disturbed.

       I. This Court should dismiss this appeal because it is equitably moot.

       A. Under the equitable-mootness doctrine, bankruptcy courts may refuse to

 entertain the merits of an appeal from a confirmation order after considering whether

 the appellant obtained a stay of the order, whether the plan is substantially consum-

 mated, whether the appellant’s requested relief would affect the plan’s success, and

 whether the appellant’s requested relief would affect third parties. All four factors

 clearly support equitable mootness here: Two courts resoundingly rejected the U.S.

 Trustee’s stay request, and Appellants made no effort to expedite their appeal; the

 plan—including the Third-Party-Release and Exculpation Provisions—took full ef-

 fect over six months ago; those provisions are integral to and inseparable from the

 plan; and transactions involving hundreds of millions of dollars and countless third

 parties have already occurred in reliance on the validity of the plan and the releases

 contained therein. This appeal therefore is a poster child for equitable mootness.

       B. The arguments that the U.S. Trustee has advanced against equitable moot-

 ness are unavailing. Contrary to the U.S. Trustee’s contentions, the Fourth Circuit

 still recognizes the equitable-mootness doctrine, which fully applies to government

 appeals. The U.S. Trustee’s argument that he satisfies the four-factor equitable-

 mootness test is even weaker now than the last time he advanced it. And the capable-



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 of-repetition-yet-evading-review doctrine applies only in cases involving constitu-

 tional mootness, not equitable mootness, and is not satisfied here regardless because

 Appellants could seek a stay to preserve the issue for review.

       II. If the Court addresses the merits, it should affirm. Appellants principally

 challenge the plan’s Third-Party-Release Provision, but that provision is clearly per-

 missible.

       A. Bankruptcy courts have broad equitable authority under §1123(b)(6) and

 §105(a) of the Bankruptcy Code to confirm plans with any necessary and appropriate

 provisions. They routinely invoke that authority to confirm plans containing con-

 sensual third-party-release provisions, and they consistently hold that, if affected

 parties receive adequate notice of a release containing an opt-out procedure, the pro-

 vision is consensual. The Third-Party-Release Provision here is just such a provi-

 sion: It contains an opt-out mechanism, and Ascena provided sufficient notice to

 affected parties of the provision and the means for opting-out. Hundreds of parties

 did opt-out, and the decisions of those who did not must be respected, particularly

 given that none of those parties is challenging the Third-Party-Release Provision.

       B. Appellants’ contrary arguments are meritless. To begin, although the Se-

 curities Plaintiffs wish to challenge the Third-Party-Release Provision on behalf of

 putative class members in the Securities Litigation, they lack standing to do so. Re-




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 gardless, no argument from the Securities Plaintiffs—or the U.S. Trustee—with-

 stands scrutiny. First, the bankruptcy court unquestionably had statutory and con-

 stitutional authority to approve that provision. Second, the Fourth Circuit’s Beh-

 rmann decision applies only to nonconsensual third-party-release provisions, not

 consensual provisions like the one here. Third, the Third-Party-Release Provision is

 consensual in light of the opt-out mechanism, and the notion that such procedures

 cannot render a release consensual defies a wall of precedent to the contrary as well

 as basic contract law—while calling into question the legitimacy of the very kind of

 class-action litigation that the Securities Plaintiffs fervently wish to pursue. Fourth,

 the U.S. Trustee forfeited his argument that certain parties received inadequate no-

 tice of the opt-out procedures, which is meritless regardless, and the Securities Plain-

 tiffs’ notice-related argument misstates the record and the law.

       C. Even assuming the Third-Party-Release Provision must satisfy Behrmann,

 the bankruptcy court correctly determined that it does so. Every Behrmann factor

 supports upholding the Third-Party-Release Provision, and Appellants identify no

 basis for concluding otherwise or deeming the provision impermissible.

       III. The bankruptcy court also properly approved the Exculpation Provision.

       A. To ensure that parties who contributed to a restructuring effort do not have

 to face an onslaught of meritless negligence suits, bankruptcy courts routinely exer-

 cise their equitable authority under §1123(b)(6) and §105(a) to approve exculpation



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 provisions that are properly limited and not overly broad. The Exculpation Provision

 here readily satisfies that standard: It implicates conduct only between Ascena’s

 petition date and the plan’s effective date, it applies only to parties who played a

 critical role in Ascena’s restructuring, and it expressly excludes serious misconduct.

       B. The U.S. Trustee—the only party challenging the Exculpation Provision—

 offers no valid reason as to why it is impermissible. The U.S. Trustee insists that

 Behrmann applies to exculpation provisions, but he overreads Behrmann, and nei-

 ther case law nor the leading treatise supports his position. The U.S. Trustee’s four

 narrower arguments are likewise unavailing. First, the U.S. Trustee claims that ex-

 culpation provisions should not extend beyond estate fiduciaries, but he concedes

 that courts disagree with him. Second, the U.S. Trustee argues that the Exculpation

 Provision extends to parties who did not play an important role in Ascena’s restruc-

 turing, but the bankruptcy court made contrary determinations; furthermore, the U.S.

 Trustee cannot credibly explain why the ability to bring negligence suits against such

 parties (and non-estate fiduciaries) is the difference-maker when it comes to the pro-

 priety vel non of an exculpation provision. Third, the U.S. Trustee asserts that the

 Exculpation Provision should not apply to conduct arising from the attorney-client

 relationship, but like many of his arguments, he forfeited this contention below, and




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 he provides no support for it now. Fourth, the U.S. Trustee complains that the Ex-

 culpation Provision fails to respect the bankruptcy court’s “gatekeeper function,” but

 his only support is an easily distinguishable case.

       IV. The bankruptcy court did not abuse its discretion in addressing the legal-

 ity of the Third-Party-Release and Exculpation Provisions at the confirmation stage.

 The U.S. Trustee argues that the bankruptcy court refused to second-guess a collu-

 sive request by Ascena and the Term Lenders to approve the Third-Party-Release

 Provision—but that assertion rests on astonishing mischaracterizations of the record.

 The U.S. Trustee also insists that the bankruptcy court should have addressed the

 validity of the Third-Party-Release and Exculpation Provisions at the disclosure-

 statement stage—but that contention ignores that the U.S. Trustee agreed that the

 bankruptcy court should resolve those objections at the confirmation stage, not the

 disclosure-statement stage.

                                    ARGUMENT

 I.    The Court Should Dismiss This Appeal As Equitably Moot.

       In this bankruptcy appeal, as in so many others, “[m]ootness is the threshold

 issue.” In re McLean Square Assocs., G.P., 200 B.R. 128, 131 (E.D. Va. 1996),

 aff’d, 107 F.3d 866 (4th Cir. 1997). Because this appeal is equitably moot, the Court

 should dismiss it without reaching the merits.




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       A.     Each Equitable-Mootness Factor Is Easily Satisfied.

       “The doctrine of equitable mootness represents a pragmatic recognition by

 courts that reviewing a judgment may, after time has passed and the judgment has

 been implemented, prove ‘impractical, imprudent, and therefore inequitable.’” U.S.

 Airways, 369 F.3d at 809. Four factors inform the determination of “whether the

 requested relief can, as a practical matter, be granted: (1) whether the appellant

 sought and obtained a stay; (2) whether the reorganization plan or other equitable

 relief ordered has been substantially consummated; (3) the extent to which the relief

 requested on appeal would affect the success of the reorganization plan or other eq-

 uitable relief granted; and (4) the extent to which the relief requested on appeal

 would affect the interests of third parties.” Id. A straightforward application of these

 factors confirms that this appeal is equitably moot.

       First, it is indisputable that no appellant obtained a stay of the orders chal-

 lenged on appeal. In fact, only the U.S. Trustee even tried—but he inexplicably

 waited 33 days (until March 30, 2021) after the February 25 confirmation order to

 move to stay that order. The U.S. Trustee also made no effort to expedite consider-

 ation of his stay motion; consequently, the bankruptcy court did not hear the motion

 until May 13, and it did not issue its opinion denying the motion until May 28. In

 the meantime, the plan was not only substantially consummated on March 5 but

 “fully consummated” by the time of the bankruptcy court’s decision, with hundreds



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 of millions of dollars changing hands among many third parties. UST.App.2889.

 “By making that strategic choice” not to seek a stay for 33 days or to seek expedited

 consideration, the U.S. Trustee “allowed the reorganization plan to go into effect,

 taking the risks that attended such a decision.” Mac Panel, 283 F.3d at 625; see

 Mar-Bow Value Partners, LLC v. McKinsey Recovery & Transformation Serv. US,

 LLC, 578 B.R. 325, 349 (E.D. Va. 2017) (finding equitable mootness where appel-

 lant did not “seek expedited consideration” of stay motion, such that bankruptcy

 court did not consider motion until “almost one month after the Plan had become

 effective”).

       The U.S. Trustee also did not seek expedited consideration of his stay motion

 in this Court; nor, for that matter, have Appellants made any efforts to accelerate

 consideration of their appeal on the merits. To the contrary, they filed their notices

 of appeal on the last days possible (March 11 and 25); moreover, after this Court

 consolidated the appeals on April 28 and ordered the parties to submit a single brief-

 ing schedule, Appellants proposed and obtained a schedule under which their open-

 ing briefs were due on June 28—two months later, and over four months after the

 confirmation order. See U.S. Airways, 369 F.3d at 809-10 (finding equitable moot-

 ness where appellant did not “expedite its appeal” and debtor meanwhile “imple-

 mented its reorganization plan by completing hundreds of transactions with third

 parties”). In short, not only did Appellants fail to obtain a stay of the challenged



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 orders, but they failed to take any other steps that could have helped avoid or mini-

 mize consummation of the plan, which is the very point of seeking and obtaining a

 stay in the first place.4 Thus, the first equitable-mootness factor weighs strongly in

 favor of equitable mootness.

       Second, the plan is substantially consummated—and then some. Substantial

 consummation is defined in the Bankruptcy Code to involve (1) “[t]ransfer of all or

 substantially all of the property proposed by the plan to be transferred”; (2)

 “[a]ssumption by the debtor or the successor to the debtor under the plan of the busi-

 ness or of the management of all or substantially all of the property dealt with by the

 plan”; and (3) “[c]ommencement of distribution under the plan.” Mac Panel, 283

 F.3d at 625-26; see §1101(2). All of those events have taken place; as the bankruptcy

 court determined, the plan was “substantially consummated” on March 5 and “fully

 consummated” by late May 2021. UST.App.2889, 2903. In other words, many

 months ago, the Third-Party-Release and Exculpation Provisions took effect, and

 they have remained in effect ever since. See UST.App.2897. Furthermore, numer-

 ous transactions contemplated by the plan have been entered into by numerous par-




 4
  The Securities Plaintiffs did not even independently seek a stay, but instead filed
 perfunctory “joinders” to the U.S. Trustee’s stay motions—nine and thirteen days
 after those motions, respectively. See Bankr.Dkt.1997; Dkt.29.


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 ties who relied on those releases in agreeing to the transactions, including a distri-

 bution of nearly $400 million to prepetition lenders; the distribution of nearly $3

 million to priority and administrative claimants; the funding of the GUC Trust with

 $7.25 million; the appointment of a GUC Trust trustee; the cancellation of Ascena

 shares; the rejection and assumption, or assumption and assignment, of executory

 contracts and unexpired leases; the removal of Ascena’s Board of Directors and the

 discharge of their duties; and the implementation of a plan administrator. See

 UST.App.2889; Bankr.Dkt.2308. These are textbook examples of substantial con-

 summation. See, e.g., Mac Panel, 283 F.3d at 625-26; In re Shawnee Hills, Inc., 125

 F.App’x 466, 470 (4th Cir. 2005); Mar-Bow, 578 B.R. at 349-50. The second equi-

 table-mootness factor thus “weighs heavily” in favor of equitable mootness, too.

 U.S. Airways, 369 F.3d at 810.

       Third, Appellants’ requested relief on appeal unquestionably would “affect

 the success of the reorganization plan.” Mac Panel, 283 F.3d at 625. As the bank-

 ruptcy court determined based on the “uncontroverted evidence,” the Third-Party-

 Release and Exculpation Provisions are “integral” to Ascena’s plan because they

 embody promises upon which the numerous stakeholders relied in agreeing to the

 plan and the many interrelated transactions (and compromises) contemplated

 therein. UST.App.2893-94. Indeed, the plan explicitly states that, upon confirma-

 tion—i.e., the point at which all of those transactions have been approved and must



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 move forward—the two provisions are “nonseverable” from the plan (language to

 which “[n]o party … objected” below). UST.App.2667, 2899 (emphasis omitted).

 Accordingly, it is impossible to excise those provisions from the plan without throw-

 ing it and Ascena’s restructuring into disarray; disrupting the “release and exculpa-

 tion provisions” now “would risk not only disrupting” various “core transaction[s]

 of the Plan,” but also “unravelling the ‘web of interrelated settlements that had been

 painstakingly woven together’ and the ‘hard-fought global peace’ that the Plan

 achieved”—all of which “weighs in favor of finding that [this] appeal is equitably

 moot.” Mar-Bow, 578 B.R. at 350-51; cf. Behrmann, 663 F.3d at 714 (finding no

 equitable mootness where plan “expressly provides that any clause may be severed

 should it be determined to be unenforceable, which suggests that the plan would

 remain viable absent the Release Provisions”).

       Finally, Appellants’ requested relief would significantly “affect the interests

 of third parties.” Mac Panel, 283 F.3d at 625. At bottom, Appellants seek an order

 that would either render the Third-Party-Release and Exculpation Provisions cate-

 gorically unenforceable or otherwise unilaterally decree that all “releasing parties”

 have in fact opted-out of those provisions. See UST.Br.51; Patterson.Br.86-87.

 Such relief would necessarily affect “thousands of parties” not before this Court who

 are now enjoying the benefits of those provisions. UST.App.2895 n.15. For exam-

 ple, parties subject to the Third-Party-Release Provision currently receive an



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 “Avoidance Action Waiver,” and shareholders are included as “Released Parties”;

 however, parties who opt-out do not enjoy either of these benefits.              See

 UST.App.2625, 2846. Appellants’ insistence that those parties must be deemed to

 have opted-out would thus expose them to “significant” litigation risk.

 UST.App.2895 n.15. Furthermore, the parties defined as “exculpated parties”—i.e.,

 “skilled individuals” who “assist[ed] in the reorganization efforts,” Alpha, 556 B.R.

 at 260-61—would also face heightened litigation risk, as they are currently exposed

 only to claims for “actual fraud, willful misconduct, or gross negligence”

 UST.App.2659-60, but would now “be second-guessed and hounded” by parties as-

 serting “meritless” negligence actions, Alpha, 556 B.R. at 261.

       On top of that, as already noted, eliminating the Third-Party-Release and Ex-

 culpation Provisions would invariably impact the plan as a whole because the plan’s

 text and the uncontroverted evidence establish that the two provisions are “nonse-

 verable.” Accordingly, the entire plan—and every third-party transaction entered

 into in “reli[ance] upon [its] confirmation and success,” U.S. Airways, 369 F.3d at

 810—would be upended, which unquestionably would have broad ramifications on

 “all the constituencies” who benefited from the “absolutely phenomenal” outcome

 embodied by the plan. UST.App.2782; cf. In re Bate Land & Timber LLC, 877 F.3d

 188, 195-96 (4th Cir. 2017) (finding no equitable mootness where “[t]his case es-




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 sentially presents a two-party dispute because [appellant] is the Debtor’s largest se-

 cured creditor” and “Debtor has not engaged in significant transactions with third

 parties who relied on the Confirmed Plan’s terms”). It thus cannot be seriously dis-

 puted that the fourth and final equitable-mootness factor likewise militates in favor

 of equitable mootness. See, e.g., U.S. Airways, 369 F.3d at 810-11 (declining appel-

 lant’s requested relief, and finding equitable mootness, because “apart from the dam-

 age inflicted on this massive reorganization plan, we would shake the reliance that

 businesses, investors, and the public place on the finality of bankruptcy confirmation

 orders”); Mac Panel, 283 F.3d at 626.

       B.     The U.S. Trustee’s Contrary Arguments Are Meritless.

       In prior stay-related briefing, the U.S. Trustee asserted three arguments in an

 effort to evade equitable mootness. See Dkt.28 at 3-9; Bankr.Dkt.2114 at 2-12. Ap-

 parently recognizing that the doctrine continues to present a serious obstacle, the

 U.S. Trustee’s opening brief here signals that he intends to repeat those arguments

 on appeal. See UST.Br.49-50. They are uniformly meritless.

       First, the U.S. Trustee has suggested that the equitable-mootness doctrine did

 not survive the Supreme Court’s 2014 decision in Lexmark International, Inc. v.

 Static Control Components, Inc., 572 U.S. 118 (2014), or, alternatively, that it does

 not apply to government appeals. See Dkt.28 at 3-5; Bankr.Dkt.2114 at 2-5. But

 subsequent to Lexmark (which said nothing about bankruptcy), the Fourth Circuit



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 and courts within it have regularly invoked equitable mootness,5 and the Supreme

 Court has just as regularly denied certiorari of petitions challenging equitable moot-

 ness as conflicting with Lexmark. See, e.g., In re Fetner, 801 F.App’x 189 (4th Cir.

 2020), cert. denied sub nom. Fetner v. Wilmington Sav. Fund Soc’y, 2021 WL

 1520818 (U.S. Apr. 19, 2021). Similarly, courts of appeals consistently address eq-

 uitable mootness even when the U.S. Trustee is an appellant. See, e.g., In re Zenith

 Elecs. Corp., 329 F.3d 338, 340 (3d Cir. 2003); In re GWI PCS 1 Inc., 230 F.3d 788

 (5th Cir. 2000); In re S.S. Retail Stores Corp., 216 F.3d 882, 884-85 (9th Cir. 2000).

 No court has held that the doctrine is inapplicable when the government appeals, and

 the U.S. Trustee cites no case so holding.

       Second, the U.S. Trustee has suggested that, even if the equitable-mootness

 doctrine applies here, the four equitable-mootness factors purportedly support his

 position. See Dkt.28 at 5-8; Bankr.Dkt.2114 at 5-10. That contention is unavail-

 ing—even more so now than several months ago when the U.S. Trustee first ad-

 vanced it. As to the first factor, although the U.S. Trustee could previously claim



 5
   See, e.g., Clark v. Council of Unit Owners of 100 Harborview Drive Condo., 2021
 WL 2157604 (4th Cir. May 27, 2021); In re Myers, 773 F.App’x 161 (4th Cir. 2019);
 Alpha, 736 F.App’x 412; Bate Land, 877 F.3d 188; Wilmington Tr., Nat’l Ass’n v.
 Lord & Taylor LLC, 2021 WL 3089105 (E.D. Va. July 22, 2021); Brea Union Plaza
 I, LLC v. Toys R Us, Inc., 2018 WL 3543056 (E.D. Va. July 23, 2018); Parson v.
 Matson, 2018 WL 1855964 (E.D. Va. Apr. 18, 2018); Warnick v. Arrowsmith, 2017
 WL 2999025 (E.D. Va. July 14, 2017).


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 that he was “seeking a stay,” Dkt.28 at 6—albeit belatedly—he did not obtain a stay,

 and he made no other efforts to expedite this case or otherwise avoid or minimize

 the plan’s consummation. Further, the U.S. Trustee’s arguments on the second and

 third factors—that the Third-Party-Release and Exculpation Provisions were not

 “substantially consummated” and that the plan’s “severability” provision shows that

 his requested relief would not affect the plan’s success, Dkt.28 at 6-7—are contra-

 dicted by the plan’s plain text, which leaves no doubt that those provisions took

 effect over six months ago and that “there is no severability provision in the Plan

 upon which the Court can rely.” See UST.App.2464, 2897, 2899. And the U.S.

 Trustee’s arguments on the fourth factor—that his requested relief would “not ad-

 versely impact third parties,” Dkt.28 at 8—relies entirely on Behrmann, which ad-

 dressed a plan that contained a severability provision applicable after confirmation,

 contrary to the plan here. See Behrmann, 663 F.3d at 714.

       Finally, the U.S. Trustee has asserted that the capable-of-repetition-yet-evad-

 ing-review exception to mootness applies here. Dkt.28 at 8; Bankr.Dkt.2114 at 2-

 12. But the capable-of-repetition doctrine is an exception to constitutional moot-

 ness, not equitable mootness. See, e.g., Kingdomware Techs., Inc. v. United States,

 136 S.Ct. 1969, 1976 (2016); In re K&D Indus. Servs. Holding Co., 2021 WL

 949531, at *2 (E.D. Mich. Mar. 12, 2021) (“[A] review of the case law considering

 this exception to mootness suggests that it only applies to Article III mootness[.]”),



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 aff’d, 850 F.App’x 966 (6th Cir. 2021); In re Gardens Reg’l Hosp. & Med. Ctr., Inc.,

 2018 WL 1229989, at *5 (C.D. Cal. Jan. 19, 2018) (same). For good reason, then,

 the U.S. Trustee has not identified one example in which a court has applied the

 capable-of-repetition exception in a dispute involving equitable mootness.6 Regard-

 less, the capable-of-repetition exception does not apply here. “As many … circuits

 have held, ‘[w]here prompt application for a stay pending appeal can preserve an

 issue for appeal, the issue is not one that will evade review,’” and “it does not matter

 that the … stay was ultimately denied.” Stansell v. Revolutionary Armed Forces of

 Colombia (FARC), 772 F.App’x 772, 777 (11th Cir. 2019). That statement describes

 this case almost to a tee; the only difference is that the U.S. Trustee sat on his stay

 request for weeks as Ascena’s plan took effect.

       In short, the U.S. Trustee’s “defense” to equitable mootness is no defense at

 all. As a result, this Court should dismiss this appeal without proceeding further.




 6
   The U.S. Trustee’s only support is a decision stating that “[o]ne exception to the
 equitable mootness doctrine is applied when the claim is capable of repetition, yet
 evades review.” In re Conley, 369 B.R. 67, 71 (B.A.P. 1st Cir. 2007). But the de-
 cision that Conley cited for that proposition, Ramirez v. Sanchez Ramos, 438 F.3d
 92 (1st Cir. 2006), involved constitutional mootness, not equitable mootness. Re-
 gardless, Conley acknowledged that the parties had not briefed the issue, and it chose
 to “bypass[]” it because affirmance on the merits was “easily” warranted. 369 B.R.
 at 71.


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 II.   The Bankruptcy Court Properly Approved The Third-Party-Release
       Provision.

       If the Court nevertheless reaches the merits, it should affirm, as the bankruptcy

 court properly confirmed Ascena’s plan. Appellants principally dispute the validity

 of the Third-Party-Release Provision. See Patterson.Br.31-86; UST.Br.28-42. The

 bankruptcy court properly rejected their baseless challenges.

       A.     The Third-Party-Release Provision is Consensual and Permissible.

              1.    The Bankruptcy Code, case law, and sound policy firmly
                    support the use of third-party releases with opt-out
                    mechanisms in Chapter 11 plans.

       A bankruptcy court “applies the principles and rules of equity jurisprudence,”

 Pepper v. Litton, 308 U.S. 295, 304 (1939), and the “traditional understanding” is

 that bankruptcy courts enjoy “broad” equitable powers, United States v. Energy Res.

 Co., 495 U.S. 545, 549 (1990). Section 105(a) of the Bankruptcy Code codifies that

 understanding and states that bankruptcy courts may issue any “necessary or appro-

 priate” orders to “carry out the provisions” of the Code. §105(a). Section 1123(b)(6)

 of the Code then confirms that this broad authority continues to exist during plan

 confirmation, for it provides that a bankruptcy court may approve a plan containing

 “any … appropriate provision not inconsistent with” the Code. §1123(b)(6).

       “One example of a provision” that “has been included in chapter 11 plans

 pursuant to section 1123(b)(6) is a clause that enjoins the prosecution of future

 claims against a nondebtor entity.” 7 Collier ¶1123.02[6][a]. A majority of courts


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 of appeals have concluded that, under certain circumstances, bankruptcy courts may

 approve plans containing such third-party-release provisions even when the releas-

 ing parties do not consent to them. In re Seaside Eng’g & Surveying, Inc., 780 F.3d

 1070, 1077-78 (11th Cir. 2015) (observing that at least eight courts of appeals are

 “pro-release”). The Fourth Circuit’s decision in Behrmann exemplifies that majority

 view. There, “‘non-consenting creditor[s]’” asserted that “equitable relief in the

 form of nondebtor releases is never permissible under the Bankruptcy Code,” but

 the court emphatically rejected that assertion as “without merit.” Behrmann, 663

 F.3d at 710. The Fourth Circuit instead concluded that a bankruptcy court is “em-

 powered” to approve third-party-release provisions “where circumstances warrant”

 and “commend[ed]” six factors for courts to consider when addressing the validity

 of nonconsensual versions of such provisions in Chapter 11 plans. Id. at 711-12; see

 8 Collier ¶1141.02[5][c] & n.67 (citing Behrmann in noting that “a majority of

 courts that have considered the question have found that nonconsensual third-party

 releases … may be permitted in certain instances”).

       If nonconsensual third-party-release provisions are consistent with the Bank-

 ruptcy Code, consensual versions of such provisions are a fortiori consistent. Case

 law confirms the point. As this Court recognized when denying the U.S. Trustee’s

 stay motion, “[m]ost courts allow consensual nondebtor releases to be included in a

 plan.” Dkt.33 at 13; see, e.g., In re Specialty Equip. Companies, Inc., 3 F.3d 1043,



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 1047 (7th Cir. 1993) (“[C]ourts have found releases that are consensual and non-

 coercive to be in accord with the strictures of the Bankruptcy Code.”); Jason W.

 Harbour & Tara L. Elgie, The 20-Year Split: Nonconsensual Nondebtor Releases,

 21 Norton J. Bankr. L. & Prac. 4 Art. 4 (2012) (“[T]here is little dispute that if non-

 debtors consent, bankruptcy courts may authorize nondebtor releases[.]”). And the

 “few decisions” that “have adopted a contrary position all rely upon a Seventh Cir-

 cuit case that was subsequently overturned.” Joshua M. Silverstein, Hiding in Plain

 View: A Neglected Supreme Court Decision Resolves the Debate over Non-Debtor

 Releases in Chapter 11 Reorganizations, 23 Emory Bankr. Dev. J. 13, 25-26 (2006)

 (footnotes omitted) (citing Union Carbide Corp. v. Newboles, 686 F.2d 593 (7th Cir.

 1982)).

       The reason why courts “generally approve” consensual third-party-release

 provisions is self-evident: Such a provision “is no different from any other contract

 or settlement” consummated on a consensual basis. 8 Collier ¶1141.02[5][b]; see 7

 Collier ¶1129.01[1] (“As to agreed provisions, the plan is a contract between the

 proponent and those bound by it.”). As a result, so long as the third-party-release

 provision “satisfies the requirements for a binding agreement,” the “vast majority of

 courts believe it is perfectly valid under the Code.” Silverstein, supra, at 25.

       Of central relevance here, courts nationwide have found those requirements

 satisfied when examining “opt out-third-party releases”: After all, if parties are



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 “given sufficient notice of a chapter 11 plan’s third-party release provision and op-

 portunity to ‘opt out’ of such release, failure to opt out is a sufficient manifestation

 of consent to the third-party release.” 8 Collier ¶1141.02[5][b]; see, e.g., Stein Mart,

 2021 WL 1216557, at *5; Vista Proppants, 2020 WL 6325526, at *7; Gen. Wireless,

 2017 WL 5461361, at *10; Indianapolis Downs, 486 B.R. at 306; DBSD, 419 B.R.

 at 218; Conseco, 301 B.R. at 528; see also UST.App.2867 n.22 (providing several

 other examples from the U.S. Bankruptcy Court for the Eastern District of Virginia);

 2 Williston on Contracts §6:50 (4th ed. 2021) (“[S]ilence and inaction will operate

 to bind the offeree to a contract … when the offeror has stated or given the offeree

 reason to understand that assent may be manifested by silence or inaction, and the

 offeree in remaining silent and inactive intends to accept the offer.”).

       Interpreting inaction as consent when a party is adequately notified that inac-

 tion will yield consent is not a novel concept. Indeed, that is how bankruptcy prac-

 tice typically works:     As a “general[]” matter, “[t]he Bankruptcy Code re-

 quires … that upon receipt of notice of a pending event,” an “affected party must

 take some affirmative action to preserve the party’s rights; in the absence of such

 affirmative action, such rights are lost.” UST.App.2892. Thus, for instance, bank-

 ruptcy courts resolve all manner of motions using “negative notice” procedures—

 that is, courts may resolve motions without an “actual hearing” if “notice” of such a




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 hearing “is given properly” but “such a hearing is not requested timely” by the op-

 posing party. §102(1)(B)(i); see Stein Mart, 2021 WL 1216557, at *5 (“The non-

 return of the [opt-out] form indicates acceptance of the terms offered, in the mode

 and manner prescribed in the Third-Party Release … [T]his mode and manner of

 acceptance essentially mimics the bankruptcy court’s own negative-notice proce-

 dure.”); cf. In re Pierce, 435 F.3d 891, 891 (8th Cir. 2006) (“Negative notices

 are … authorized by the Code.” (citing In re Looney, 823 F.2d 788, 791 (4th Cir.

 1987)). Similarly, “at the onset of an asset case, notice is provided to all creditors

 of the deadline to file a proof of claim in order to maintain any right to distribution

 from the bankruptcy estate,” and “[o]bjections to filed proofs of claim work in sim-

 ilar fashion.” UST.App.2892.

       Nor is consent via inaction following sufficient notice unique to bankruptcy

 law. Consider class-action litigation. If a class representative wishes to certify a

 class under Civil Rule 23(b)(3), he must provide adequate “‘notice’” to class mem-

 bers and instruct them of their right to “opt out.” Amchem Prods., Inc. v. Windsor,

 521 U.S. 591, 617 (1997) (quoting Fed. R. Civ. P. 23(c)(2)); see Phillips Petrol. Co.

 v. Shutts, 472 U.S. 797, 812 (1985) (“[W]e hold that due process requires … that an

 absent plaintiff be provided with an opportunity to remove himself from the class by

 executing and returning an ‘opt out’ or ‘request for exclusion’ form to the court.”).

 A “class member who is afforded an opportunity to opt out, but who fails to exercise



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 that option, will be deemed to have consented to jurisdiction and will be bound by

 the class action proceedings.” 1 McLaughlin on Class Actions §5:78 (17th ed. 2020).

               2.    The Third-Party-Release          Provision     readily    satisfies
                     applicable law.

         The foregoing leaves no doubt that the Third-Party-Release Provision is ap-

 propriate. That provision effects a release of only those claims that belong to a party

 defined in the plan as a “Releasing Party,” see UST.App.2659, and the plan’s defi-

 nition of “Releasing Party” explicitly excludes a party who “elects to opt out of the

 release[]” or who “timely objects to the release[] … and such objection is not re-

 solved before Confirmation.” UST.App.2625. Put another way, the “plain lan-

 guage” of the plan makes clear that the provision is “entirely voluntary” and “con-

 sensual,” as the bankruptcy court correctly determined below. UST.App.2867,

 2888.

         Nor is the Third-Party-Release Provision consensual merely on paper, as

 Ascena provided the relevant parties “sufficient notice” of the provision and ex-

 plained precisely how they could opt-out. UST.App.2867. Virtually every party in

 this sprawling bankruptcy case agreed: Only the Securities Plaintiffs and the SEC

 raised any notice-related concerns to the bankruptcy court, and those concerns per-

 tained solely to Ascena’s current and former shareholders, including those in the

 putative class in the Securities Litigation. See UST.App.725-26, 921-22, 924-28,

 931-32, 936-42. Moreover, Ascena revised the opt-out notice to shareholders to


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 accommodate the SEC’s concerns, with the modified notice stating in clear and un-

 mistakable terms: “[Y]ou will be deemed to have released whatever claims you

 may have against many other people and entities (including company officers

 and directors) unless you return the enclosed ‘Release Opt-Out Form’ by Oc-

 tober 13, 2020, at 5:00 P.M. prevailing Eastern Time.” UST.App.1541 (emphasis

 in original). And Ascena later extended that opt-out deadline by 30 days to Novem-

 ber 15, 2020, thereby giving shareholders 60 days to make their decisions,

 UST.App.2847 n.12—a period of time that courts view as more than sufficient in

 comparable circumstances, cf. 1 McLaughlin §5:78 (explaining that, in class-action

 litigation, “[c]ourts ordinarily will approve objection/opt-out periods of between ap-

 proximately 30 and 60 days from the time the notice is sent”). Ascena also ensured

 broad distribution of the opt-out notice to current and former shareholders by mailing

 the notice directly to registered shareholders and working closely with nominees to

 provide the notices to beneficial shareholders. UST.App.2848-49. There is no better

 evidence that this notice process “worked as it should have” than the fact that it

 produced 596 opt-outs, nearly 85% of which came from current and former Ascena

 shareholders. See UST.App.2724, 2777; Patterson.App.5893.

       As to those who decided not to opt-out of the Third-Party-Release Provision,

 the bankruptcy court properly exercised its “broad” equitable authority in respecting

 their wishes and approving the provision. Energy Res., 495 U.S. at 549. As the



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 court observed, creditors or equity holders subject to the Third-Party-Release Provi-

 sion who declined to opt-out could well have “believ[ed] that they will be better

 served” by “releas[ing] claims against non-debtors and obtaining the benefits offered

 to them by the proposed plan.” UST.App.2871. Those benefits include, as to hold-

 ers of claims, “a waiver of any avoidance action that might be otherwise brought

 against them,” and, as to equity holders, a “mutual release,” plus the fact that the

 Third-Party-Release Provision “promote[s] finality and prevent[s] parties from at-

 tempting to circumvent the Plan’s terms,” and also “serve[s] to avoid entanglement

 of the estates in expensive and protracted post confirmation litigation,”

 UST.App.2871, 2893-95. In short, the “uncontroverted evidence” demonstrates that

 the provision is “necessary” and “appropriate[]” in this bankruptcy case,

 UST.App.2893-94, rendering it exactly the type of discretionary provision that the

 Bankruptcy Code permits, see §105(a), §1123(b)(6).

       B.     Appellants’ Counterarguments Lack Merit.

       Appellants advance various and sundry arguments as to why the bankruptcy

 court improperly approved the Third-Party-Release Provision. None is persuasive.

              1.    The Securities Plaintiffs lack standing to challenge the Third-
                    Party-Release Provision and cannot raise a challenge or opt-
                    out on behalf of their putative class.

       At the outset, the Securities Plaintiffs do not even have standing to challenge

 the Third-Party-Release Provision, for they indisputably “opted out” of the Third-



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 Party-Release Provision. UST.App.2873. Because “[o]nly a party ‘directly and ad-

 versely affected pecuniarily’ by the entry of an order constitutes a ‘person aggrieved’

 by that order,” and because only such persons possess bankruptcy appellate standing,

 Mar-Bow, 469 F.Supp.3d at 523, it follows that the Securities Plaintiffs cannot main-

 tain their challenge against the Third-Party-Release Provision, see, e.g., In re

 Dynegy, Inc., 770 F.3d 1064, 1071 (2d Cir. 2014); Talarico v. Ultra Petrol. Corp.,

 2020 WL 8361996, at *3 (S.D. Tex. Dec. 29, 2020).

       The Securities Plaintiffs assert a cumbersome theory as to why “their own

 pecuniary interests are directly and adversely affected by” the Third-Party-Release

 Provision despite opting-out of that provision. Patterson.Br.48. According to the

 Securities Plaintiffs, if they can opt-out of the Third-Party-Release Provision on be-

 half of putative class members in the Securities Litigation, that putative class will

 initially include more parties; it is possible that those parties will decide to remain

 in the putative class rather than opting-out following class certification; a “larger”

 putative class will create a “greater … potential dollar amount”; and that greater po-

 tential dollar amount will place the Securities Plaintiffs in a “better position” to

 “fashion a resolution” “on behalf of the Class,” which could ultimately affect the

 Securities Plaintiffs’ “own pecuniary interests.” Patterson.Br.48. The Securities

 Plaintiffs do not cite a single case supporting this tortuous approach to bankruptcy

 appellate standing, and for good reason: “[p]otential pecuniary harm that requires



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 the completion of several steps does not constitute a direct pecuniary impact,” as is

 required. Mar-Bow, 469 F.Supp.3d at 532 (emphases added).

       The Securities Plaintiffs next suggest that their “appointment as lead plaintiffs

 in the Securities Litigation” gives them standing to challenge that provision because

 they are “closely allied” with the putative class members. Patterson.Br.49 (quoting

 Kane v. Johns-Manville Corp., 843 F.2d 636, 643-44 (2d Cir. 1988)); see Patter-

 son.Br.82-84. But the Securities Plaintiffs are nothing like the small handful of par-

 ties whom courts have held are “closely allied” with third parties such that the former

 can assert the rights of the latter. See, e.g., Griswold v. Connecticut, 381 U.S. 479,

 481 (1965) (allowing physicians to assert patients’ privacy rights). Their principal

 case, Kane, does not suggest otherwise; on the contrary, the Second Circuit held that

 the appellant there could not “assert claims of … third parties.” 843 F.2d at 643.

       Indeed, the Second Circuit has squarely addressed and rejected the proposition

 that a party’s “status as lead plaintiff in … securities litigation gives him standing to

 opt out of or object to the release on behalf of the putative class in the bankruptcy

 proceeding.” Dynegy, 770 F.3d at 1068. The Securities Plaintiffs assert that Dynegy

 “appears to have been wrongly decided,” Patterson.Br.82, but offer no explanation

 why. The Securities Plaintiffs also suggest that Dynegy is inapposite because the

 third-party-release provision there “carved out claims for fraud, willful misconduct,




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 and gross negligence,” Patterson.Br.82 n.7, but Dynegy never hints that this “carve

 out” had any bearing on the standing analysis.

       The Securities Plaintiffs are ultimately left to argue that the bankruptcy court

 erred in denying their motion to certify a new class, which ostensibly would have

 allowed them to opt-out on behalf of putative class members in the Securities Liti-

 gation. Patterson.Br.84-86. But as the Securities Plaintiffs concede, the bankruptcy

 court had “broad discretion” in deciding whether to apply Bankruptcy Rule 7023,

 the gateway rule that enables bankruptcy courts to conduct a class-certification anal-

 ysis. Patterson.Br.85; see also Fed. R. Bankr. P. 9014. And as the Securities Plain-

 tiffs do not dispute, they presented no argument below as to why the bankruptcy

 court should invoke Bankruptcy Rule 7023. See Patterson.App.7656. Nor do the

 Securities Plaintiffs dispute that their request for class certification came “far too

 late” in the proceedings, such that certifying a class would have “serve[d] only to

 throw the entire administration of the case into chaos.” Patterson.App.7645, 7659.

       Indeed, the Securities Plaintiffs barely muster any argument at all for why the

 bankruptcy court erred in denying their motion. At most, they assert that the court

 wrongly concluded that putative class members received adequate notice of the opt-

 out procedures. Patterson.Br.85. That argument is incorrect, see pp.72-73, infra,

 but regardless, it has nothing to do with whether class certification is appropriate,




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 much less demonstrates that the bankruptcy court abused its “broad discretion” in

 denying their motion.

              2.     The bankruptcy court had statutory and constitutional
                     authority to approve the Third-Party-Release Provision.

       Even assuming the Securities Plaintiffs possess standing, their merits argu-

 ments regarding the Third-Party-Release Provision—like the U.S. Trustee’s—are

 fatally flawed. Indeed, the Securities Plaintiffs (but not the U.S. Trustee) principally

 contend that the Court should eviscerate the Third-Party-Release Provision without

 reaching the merits, on the theory that the bankruptcy court lacked both statutory

 and constitutional authority to approve it. See Patterson.Br.31-46. This was the

 Securities Plaintiffs’ eighth and last basis in their confirmation objection, where it

 was perfunctorily asserted and barely developed. See UST.App.2242, 2289. That

 unease made eminent sense, as the bankruptcy court quite obviously had authority

 to approve the Third-Party-Release Provision.

       a. While district courts have original and exclusive jurisdiction over bank-

 ruptcy cases and related proceedings, see 28 U.S.C. §1334(a)-(b), Congress has de-

 termined that “[e]ach district court may provide that any or all cases under [the Bank-

 ruptcy Code] and any or all proceedings arising under [the Code] or arising in or

 related to a case under [the Code] shall be referred to the bankruptcy judges for the

 district,” id. §157(a); see Wellness Int’l Network, Ltd. v. Sharif, 575 U.S. 665, 670

 (2015). And “[w]hen a district court refers a case to a bankruptcy judge, that judge’s


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 statutory authority depends on whether Congress has classified the matter as a ‘core

 proceeding’ or a ‘non-core proceeding.’” Wellness, 575 U.S. at 670 (brackets omit-

 ted); see 28 U.S.C. §157(b)(2), (4).

       Congress has identified 16 examples of core proceedings; among them are

 proceedings pertaining to the “confirmation of plans.” 28 U.S.C. §157(b)(2)(L).

 And because confirmation proceedings are core proceedings, bankruptcy courts have

 express authority not only to “hear and determine” them, but also to “enter appro-

 priate orders and judgment” in them, subject to normal appellate review in the dis-

 trict court. Id. §157(b)(1). That authority is different from the “more limited au-

 thority” that bankruptcy courts exercise in non-core proceedings: In those proceed-

 ings, bankruptcy courts may “hear and determine” and “enter appropriate orders and

 judgments” only “with the consent of all the parties to the proceeding,” but otherwise

 are empowered only to “submit proposed findings of fact and conclusions of law”

 for the district court to review afresh. Wellness, 575 U.S. at 671; 28 U.S.C.

 §157(c)(2).

       Although the statutorily enumerated core proceedings are those “in which

 [Congress] thought bankruptcy courts could constitutionally enter judgment,” Well-

 ness, 575 U.S. at 670, the Supreme Court clarified the issue in Stern v. Marshall,

 564 U.S. 462 (2011). In Stern, the Supreme Court addressed whether a bankruptcy

 court had statutory and constitutional authority to enter final judgment on a state-



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 law counterclaim that the debtor had asserted against a claimant. See id. at 470-73.

 The Supreme Court concluded that, under the “plain text” of 28 U.S.C.

 §157(b)(2)(C), which provides that “‘counterclaims by the estate against persons

 filing claims against the estate’” are core proceedings, the bankruptcy court clearly

 had statutory authority to resolve the counterclaim. Stern, 564 U.S. at 475. But the

 Supreme Court then determined that the bankruptcy court lacked constitutional au-

 thority to resolve the counterclaim, as it could not characterize it as “integral to the

 restructuring of the debtor-creditor relationship”: That action did not “stem[] from

 the bankruptcy itself” or otherwise “flow from a federal statutory scheme,” nor

 would it “necessarily be resolved in the claims allowance process.” Id. at 493, 497,

 499.

        Stern left open, however, the question whether bankruptcy courts could enter

 final judgment in core proceedings outside their constitutional authority with the

 parties’ consent. See Exec. Benefits Ins. Agency v. Arkison, 573 U.S. 25, 31 n.4

 (2014). In Wellness, the Supreme Court subsequently held that bankruptcy courts

 could do so. See 575 U.S. at 686. In so doing, the Supreme Court rejected the theory

 that “consent must be express,” and it instead held that an “implied consent stand-

 ard … supplies the appropriate rule” and that a party can provide implied consent

 through “‘actions rather than words.’” Id. at 684.




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       In light of those principles, the jurisdictional inquiry here is exceedingly

 straightforward. This Court properly referred this case to the bankruptcy court at the

 outset, and the bankruptcy court plainly possessed statutory authority to confirm the

 plan and its constituent provisions, including the Third-Party-Release Provision.

 UST.App.2838-39. That is because the plain text of the Bankruptcy Code makes

 crystal-clear that plan-confirmation proceedings are core proceedings, see 28 U.S.C.

 §157(b)(2)(L) and that such plans may include “any … appropriate provision” con-

 sistent with the Code, §1123(b)(6); see §105(a). And the bankruptcy court deter-

 mined that the Third-Party-Release Provision is an appropriate provision. See, e.g.,

 UST.App.2844, 2894-95. Consistent with this straightforward conclusion, other

 courts have concluded in analogous circumstances that the statutory-authority ques-

 tion is not close. See, e.g., In re Millennium Lab Holdings II, LLC., 945 F.3d 126,

 137 (3d Cir. 2019) (explaining, in a case concerning a plan’s nonconsensual third-

 party-release provision, that “[t]he Bankruptcy Court indisputably had ‘core’ statu-

 tory authority to confirm the plan”); Specialty Equip., 3 F.3d at 1045 (similar); In re

 AOV Indus., Inc., 792 F.2d 1140, 1145 (D.C. Cir. 1986) (similar).

       The constitutional inquiry is, if anything, even easier, as “[t]here has never

 been any doubt about the constitutional authority of a [bankruptcy court] to enter

 final orders in” confirmation proceedings, “even under … Stern.”            1 Collier

 ¶3.02[3][a]. So too here. For one, the Third-Party-Release Provision applies only



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 to parties who consented to the bankruptcy court’s resolution of the claims that it

 encompasses, and bankruptcy courts have constitutional authority to resolve bank-

 ruptcy proceedings (whether core or non-core) based on consent. See Wellness, 575

 U.S. at 670-71, 683-85; see also In re Kirwan Offs. S.à.R.L., 792 F.App’x 99, 103

 (2d Cir. 2019) (concluding that bankruptcy court had constitutional authority based

 on “implicit consent” when the appellant “declined to participate in the confirmation

 hearing or otherwise object to the proposed Plan prior to its entry, despite having

 notice of them and their effect on his rights”). For another, the Third-Party-Release

 Provision “stems from the bankruptcy itself”—i.e., plan confirmation, which is “the

 statutory goal of every chapter 11 case,” 7 Collier ¶1129.01—and “flow[s] from a

 federal statutory scheme,” Stern, 564 U.S. at 493, 499, including Bankruptcy Code

 provisions like §1129, §1123, and §105; see, e.g., In re Astria Health, 623 B.R. 793,

 797 (Bankr. E.D. Wash. 2021); In re Murray Metallurgical Coal Holdings, LLC,

 623 B.R. 444, 451 (Bankr. S.D. Ohio 2021); In re Kirwan Offs. S.à.r.l., 592 B.R.

 489, 511 (S.D.N.Y. 2018). Finally, the Third-Party-Release Provision is “integral”

 to the plan’s operation, as the bankruptcy court repeatedly emphasized based on the

 uncontroverted evidence. See, e.g., UST.App.2844, 2894, 2898, 2899; see also, e.g.,

 Millennium Lab, 945 F.3d at 137; Kirwan, 592 B.R. at 511.

       b. The Securities Plaintiffs resist these conclusions, but they never seriously

 engage with the logic that leads there. As to the statutory-authority question, the



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 Securities Plaintiffs principally rely on cases that concerned neither plan confirma-

 tion nor third-party-release provisions, and thus never considered the source of stat-

 utory authority at issue here: 28 U.S.C. §157(b)(2)(L). See In re Excel Storage

 Prods., L.P., 458 B.R. 175 (Bankr. M.D. Pa. 2011); In re Sunbridge Cap., Inc., 454

 B.R. 166 (Bankr. D. Kan. 2011); Power Plant Ent. Casino Resort Ind., LLC v. Man-

 gano, 484 B.R. 290 (Bankr. D. Md. 2012); In re Golden Inv. Acquisitions, LLC, 508

 B.R. 381 (Bankr. N.D. W. Va. 2014); In re Johnston, 2007 WL 1166017 (Bankr.

 N.D. W. Va. Apr. 12, 2007); In re Se. Materials, Inc., 467 B.R. 337 (Bankr.

 M.D.N.C. 2012); Virginia ex rel. Integra REC LLC v. Countrywide Sec. Corp., 92

 F.Supp.3d 469 (E.D. Va. 2015). Of the three cases cited by the Securities Plaintiffs

 that did concern plan confirmation and third-party-release provisions, one never ad-

 dressed 28 U.S.C. §157(b)(2)(L), see In re SunEdison, Inc., 576 B.R. 453 (Bankr.

 S.D.N.Y. 2017), while the other two concluded that they had jurisdiction under that

 statutory provision, see In re Stearns Holdings, LLC, 607 B.R. 781, 787 (Bankr.

 S.D.N.Y. 2019); Kirwan, 592 B.R. at 504. The Securities Plaintiffs also invoke a

 pre-Stern Third Circuit decision, see In re Combustion Eng’g, Inc., 391 F.3d 190 (3d

 Cir. 2004), but they never acknowledge that the Third Circuit recently concluded

 that bankruptcy courts “indisputably” have statutory authority under 28 U.S.C.

 §157(b)(2)(L) to confirm plans containing third-party-release provisions, Millen-

 nium, 945 F.3d at 137. The Securities Plaintiffs are left with a lone decision from a



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 bankruptcy court in Colorado, see In re Midway Gold US, Inc., 575 B.R. 475 (Bankr.

 D. Colo. 2017), whose reasoning other courts have squarely rejected, see Kirwan,

 592 B.R. at 504-05. The bottom line, then, is that the Code and case law overwhelm-

 ingly support the conclusion that the bankruptcy court had statutory authority under

 28 U.S.C. §157(b)(2)(L).

       The Securities Plaintiffs’ constitutional argument is equally unsuccessful.

 The Securities Plaintiffs do not argue that the bankruptcy court lacked constitutional

 authority to approve the Third-Party-Release Provision based on the parties’ con-

 sent, or that the bankruptcy court lacked constitutional authority because that provi-

 sion does not stem from bankruptcy law, or that the bankruptcy court lacked consti-

 tutional authority because that provision is not integral to the plan’s operation. In-

 stead, the Securities Plaintiffs protest that the Securities Litigation “do[es] not ‘stem

 from the bankruptcy itself’”; that the Securities Litigation cannot “be resolved in the

 bankruptcy proof of claim process”; and that the Securities Litigation does not in-

 volve “public rights.” Patterson.Br.41. “Accordingly,” the Securities Plaintiffs con-

 tinue, only an Article III court could enter final judgment in the Securities Litigation,

 and the bankruptcy court could not “essentially enter[] a final judgment with the

 same substantive effect as an order dismissing the [Securities Litigation] with prej-

 udice, without the protections of due process.” Patterson.Br.42.




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       That reasoning is fatally flawed for at least two reasons. First, the “action at

 issue” is not the Securities Litigation, Stern, 564 U.S. at 499; see Millennium, 945

 F.3d at 137-38; rather, it is the confirmation of the plan and its Third-Party-Release

 Provision, and the calculus does not change merely because that action affects the

 Securities Litigation, see, e.g., AOV, 792 F.2d at 1145 (“Although the bankruptcy

 court’s decision may have an impact on claims outside the scope of the immediate

 proceedings, we do not read [Supreme Court precedent] to prohibit all bankruptcy

 court decisions that may have tangential effects.”); In re Charles St. Afr. Methodist

 Episcopal Church of Bos., 499 B.R. 66, 99 (Bankr. D. Mass. 2013). Second, the

 bankruptcy court plainly did not “enter a final judgment” on the merits in the Secu-

 rities Litigation without “due process.” To the contrary, the bankruptcy court simply

 “appl[ied] bankruptcy law” in entering a final judgment in the plan-confirmation

 proceeding, Republic Supply Co. v. Shoaf, 815 F.2d 1046, 1053 (5th Cir. 1987), and

 the plan included a provision in which many parties voluntarily released their claims

 in the Securities Litigation, see, e.g., In re Wash. Mut., Inc., 461 B.R. 200, 215

 (Bankr. D. Del. 2011) (“[T]here is a fundamental difference between approval of a

 settlement of claims … and a ruling on the merits of the claims.”).




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       The Securities Plaintiffs’ jurisdictional argument therefore is wrong from start

 to finish. But as explained below, the reason why the Securities Plaintiffs have em-

 braced it as their primary argument at this late stage is understandable, as neither

 they nor the U.S. Trustee have anything to offer on the merits.7

              3.    Behrmann does not apply to consensual releases.

       On the merits, Appellants first briefly contend that the multi-factor balancing

 test that the Fourth Circuit discussed in Behrmann applies to all third-party-release

 provisions, even consensual ones, and that Ascena cannot satisfy that test. See

 UST.Br.28-30; UST.Supp.Br.3-4; Patterson.Br.73-74; see also SEC.Amicus.Br.6-

 13. That argument reflects a fundamental misreading of Behrmann.

       By its terms, Behrmann’s multi-factor test, which the Fourth Circuit borrowed

 from the Sixth Circuit’s decision in In re Dow Corning Corp., 280 F.3d 648 (6th Cir.

 2002), is expressly limited to nonconsensual third-party-release provisions. That is

 why (in the Fourth Circuit’s words) the “pertinent part” of Dow Corning begins with

 this statement: “We hold that when the following seven factors are present, the




 7
   The U.S. Trustee muses in a footnote that “[t]here is reason to think bankruptcy
 courts lack constitutional authority to impose the Third-Party Release against parties
 to take away their state law claims,” apparently because a bankruptcy’s court’s ju-
 risdiction “‘cannot be limitless.’” UST.Br.30 n.11. Of course, this fleeting argument
 has no bearing on the federal-law-based Securities Litigation, and regardless, vari-
 ous Bankruptcy Code provisions already keep bankruptcy courts within their limits.
 See, e.g., Kirwan, 592 B.R. at 505-06.


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 bankruptcy court may enjoin a non-consenting creditor’s claims against a non-

 debtor.” Behrmann, 663 F.3d at 711 (emphasis added) (quoting Dow Corning, 280

 F.3d at 658). The release at issue in Behrmann, moreover, was plainly nonconsen-

 sual; it certainly did not provide an opt-out procedure. See Nat’l Heritage Found.,

 Inc. v. Highbourne Found., 760 F.3d 344, 346 (4th Cir. 2014) (providing release

 language). For good reason, then, the leading bankruptcy treatise recognizes that

 Behrmann squarely addresses only nonconsensual third-party-release provisions.

 See 8 Collier ¶1141.02[5][c] & n.67 (discussing Behrmann’s “multi-factor test” in a

 section titled “Nonconsensual Release of Third Parties”). And contrary to the U.S.

 Trustee’s suggestion, UST.Br.28, in National Heritage—the Fourth Circuit decision

 after the Behrmann remand—the Fourth Circuit did not sub silentio extend Beh-

 rmann to cases involving consensual third-party-release provisions, since that sec-

 ond appeal, like the first, still involved a nonconsensual provision.

       The U.S. Trustee nevertheless insists that one of the Behrmann factors—

 “whether ‘the class … affected by the Release Provision overwhelmingly voted in

 favor of the Plan’”—confirms that “no amount of … consent by the parties” suffices

 to approve a third-party-release provision based on consent alone. UST.Br.28-29.

 But as this Court explained in denying a stay, that factor merely confirms that a

 bankruptcy court may legitimately enforce a third-party-release provision even with-

 out the affected party’s consent when the rest of the class overwhelmingly supports



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 the provision—which prevents a small minority from blocking a provision that a

 large majority supports and that is necessary to a restructuring. See Dkt.33 at 13.

 That concern is irrelevant when a release applies only to consenting parties.8

       At bottom, the U.S. Trustee never grapples with the fundamental question why

 a court need review and apply the Behrmann factors when a release provision is

 consensual. After all, if parties agree to a release, there would seem to be little

 reason for a court to superintend, much less overrule, that agreed-upon resolution

 (indeed, it is unclear who would even have standing to challenge the release). It is

 only when third parties are forced to release their claims—for example, when there

 is no procedure for opting-out—that court supervision makes sense.

       The most that the U.S. Trustee can muster on this point is that applying the

 Behrmann factors even to consensual releases “ensures that the bankruptcy court is

 acting within its authority and jurisdiction in extinguishing a non-debtor’s claim

 against another non-debtor,” since the court is “of limited jurisdiction.”

 UST.Supp.Br.4. But that unsubstantiated assertion is both circular and non-respon-

 sive. If, as a matter of law, a court need not apply the Behrmann factors to consen-

 sual releases, then it is necessarily “acting within its authority and jurisdiction” in



 8
   Although the Court gave the U.S. Trustee an opportunity to respond to this reason-
 ing, the U.S. Trustee’s supplemental brief offers no response; instead, it simply re-
 hashes the same argument. See UST.Supp.Br.4 n.1.


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 approving a plan with such a release. And as noted above, bankruptcy courts readily

 “act[] within [their] jurisdiction” when they approve third-party-releases, whether

 they are applying Behrmann or not. Notably, the U.S. Trustee does not argue that

 the bankruptcy court here lacked (or lost) jurisdiction upon declining to undertake a

 Behrmann analysis—even though that result should follow from his argument—re-

 inforcing that Behrmann simply does not apply in this case.

                4.   The Third-Party-Release Provision is consensual in light of
                     the opt-out procedures.

       Because Behrmann is inapplicable to consensual third-party-release provi-

 sions, Appellants shift to arguing that the Third-Party-Release Provision here is not,

 in fact, consensual. Their principal ground for this contention is that opt-out proce-

 dures are per se insufficient to render a third-party-release provision consensual. See

 Patterson.Br.49-61; UST.Br.34-37; see also SEC.Amicus.Br.14-23. That assertion

 lacks merit.

       Appellants first go for broke, invoking §524(g) of the Bankruptcy Code for

 the proposition that third-party-release provisions are permissible only when they

 involve “asbestos cases.” UST.Br.35; Patterson.Br.58. But the Fourth Circuit has

 already rejected that rigid view: In Behrmann—which had nothing to do with as-

 bestos—the Fourth Circuit expressly referenced §524(g) yet found “nothing … in-

 consistent with” the notion that courts may approve third-party-release provisions.

 663 F.3d at 711.


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       Appellants next cite a handful of bankruptcy court decisions that have pur-

 portedly invoked “actual principles of contract law”—supposedly stating that bind-

 ing contracts always require “affirmative assent”—to reject third-party-release pro-

 visions that utilize opt-out procedures. UST.Br.34-35, 36-37 (citing In re Emerge

 Energy Servs. LP, 2019 WL 7634308, at *18 (Bankr. D. Del. Dec. 5, 2019); SunEd-

 ison, 576 B.R. at 460-61; In re Chassix Holdings, Inc., 533 B.R. 64 (Bankr. S.D.N.Y.

 2015); In re Wash. Mut., Inc., 442 B.R. 314 (Bankr. D. Del. 2011)); see Patter-

 son.Br.49-54 (also citing In re Exide Techs., 303 B.R. 48 (Bankr. D. Del. 2003); In

 re Zenith Elecs. Corp., 241 B.R. 92 (Bankr. D. Del. 1999)). There are multiple

 problems with this submission.

       To start, three of Appellants’ cases did not actually involve an opt-out mech-

 anism, much less one broadly noticed to affected parties, as here. See SunEdison,

 576 B.R. at 457; Zenith, 241 B.R. at 111; Exide Techs., 303 B.R. at 74. Indeed, the

 SunEdison court distinguished the plan before it with the plan approved in Conseco

 by noting that, unlike the latter, the plan before it “does not allow creditors to opt

 out of the Release.” 576 B.R. at 460 n.8.

       Furthermore, of Appellants’ remaining three cases, two explicitly

 acknowledge that they are in a lopsided “minority” among courts that have addressed

 third-party releases with opt-out mechanisms. Emerge Energy, 2019 WL 7634308,

 at *18; Chassix, 533 B.R. at 77 (conceding that “there are many cases in this District



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 and elsewhere in which ‘deemed consent’ and ‘opt out’ arrangements have been ap-

 proved that are nearly identical to the arrangements that Debtors proposed in this

 case”); see pp.43-44, supra (reviewing decisions adopting majority position). Both

 of those decisions, moreover, rely on Washington Mutual, which itself offered little

 analysis and cited only Zenith—and that decision, as noted, did not involve an opt-

 out mechanism. See 442 B.R. at 355.

       Finally, it is unsurprising that Appellants can ultimately cite only a few deci-

 sions deeming third-party releases with opt-out provisions nonconsensual, because

 “actual principles of contract law,” UST.Br.36, have long provided that “[t]he man-

 ifestation of assent may be made wholly … by failure to act.” Restatement (Second)

 of Contracts §19(1) (1981); see, e.g., Gupta v. Morgan Stanley Smith Barney, LLC,

 934 F.3d 705, 713 (7th Cir. 2019); Rivera-Colón v. AT&T Mobility P.R., Inc., 913

 F.3d 200, 213-14 (1st Cir. 2019); Cir. City Stores, Inc. v. Najd, 294 F.3d 1104, 1109

 (9th Cir. 2002). Class-action litigation is the prototypical example. “[A] class action

 settlement agreement is a contract,” 4 William B. Rubenstein, Newberg on Class

 Actions §13:3 (5th ed. 2021), and those contracts are routinely formed using pre-

 cisely the same opt-out procedures used here, see pp.45-46, supra. Indeed, although

 the Securities Plaintiffs assert that opt-out procedures create a “trap for the unwary,”

 Patterson.Br.54, they apparently fail to appreciate that they are asking this Court for




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 an opportunity to employ those same procedures in the Securities Litigation. Un-

 derstandably, then, when the Second Circuit in Dynegy reviewed a challenge to a

 third-party release with an opt-out provision—i.e., one nearly identical to the Third-

 Party-Release Provision—it did not so much as hint that the release might be ques-

 tionable. See 770 F.3d at 1066-67.9

       For their part, the Securities Plaintiffs (who lack appellate standing) assert

 three other arguments about the validity of the opt-out procedures, but those asser-

 tions are also flawed.

       First, the Securities Plaintiffs suggest that the putative class members in the

 Securities Litigation “received absolutely nothing” under the Third-Party-Release

 Provision and so “no rational” person would consent to it. Patterson.Br.57. But the

 Securities Plaintiffs simply ignore that those putative class members “received

 a … release” too. UST.App.2871.



 9
   The Securities Plaintiffs suggest that class-action litigation is unique because “[t]he
 law supports class actions.” Patterson.Br.56; see Chassix, 533 B.R. at 78. But the
 law also supports resolutions in bankruptcy cases, which third-party releases are de-
 signed to effect. See, e.g., In re Bond, 16 F.3d 408, 408 (4th Cir. 1994) (“To mini-
 mize litigation and expedite the administration of a bankruptcy estate, ‘[c]ompro-
 mises are favored in bankruptcy.’”). Regardless, the argument is misplaced. The
 relevant question is whether absent stakeholders can have potential claims extin-
 guished by other parties. In the class-action context, that otherwise due-process-
 destroying event is permissible as long as there is an opportunity to opt-out after
 sufficient notice. There is no meaningful reason why the same procedures should
 not suffice to provide adequate protection in the third-party-release context.


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       Second, the Securities Plaintiffs contend that, “[t]aken to an extreme,” the

 bankruptcy court’s position means “the Plan could have imposed virtually any obli-

 gation on Class members on mere negative notice—for instance, a provision requir-

 ing Class members to convey other valuable personal assets to [two former Ascena

 officers]—and their nonresponse would be deemed ‘consent.’” Patterson.Br.53. But

 like many an extreme claim, this one misses the mark, as the Securities Plaintiffs

 never acknowledge that the Bankruptcy Code imposes limits on the bankruptcy

 court’s authority—which presumably explains why, even though an overwhelming

 majority of courts deem third-party releases with opt-out provisions to be consen-

 sual, no debtor has yet smuggled into a plan any of the nefarious provisions that the

 Securities Plaintiffs hypothesize. See, e.g., §1123(b)(6), §105(a).

       Third, the Securities Plaintiffs claim that nothing in bankruptcy law suggests

 that Congress approves of consent through “silence.” See Patterson.Br.60-61. But

 the Securities Plaintiffs do not address, much less contest, the examples provided

 above. See pp.44-45, supra. Their argument, moreover, is in considerable tension

 with Wellness—which held that the term “consent” in the bankruptcy-jurisdiction

 statute does not “mandate express consent,” but rather means “consent simpliciter,”

 which encompasses “implied consent,” 575 U.S. at 683-85—and is flawed on its




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 own terms.10 Proving the point, the Securities Plaintiffs themselves invoked just

 such a bankruptcy provision authorizing consent through inaction. The Securities

 Plaintiffs cited Bankruptcy Rule 7023 (over which Congress has final approval, see

 28 U.S.C. §2075) in asking the bankruptcy court to certify a class under Civil Rule

 23(b)(3) (over which Congress also has final approval, see id.) so they could opt-out

 of the Third-Party-Release Provision on behalf of putative class members in the Se-

 curities Litigation, see Patterson.App.17. Had the bankruptcy court certified such a

 (b)(3) class, the Securities Plaintiffs would have utilized the same opt-out proce-

 dures, see Fed. R. Civ. P. 23(c)(2), that they now decry as the “illusion of consent,”

 Patterson.Br.4. The Securities Plaintiffs cannot have it both ways.

               5.    Ascena provided adequate notice of the opt-out procedures.

       Appellants also contend that the Third-Party-Release provision is nonconsen-

 sual because certain parties purportedly received inadequate notice of the opt-out

 procedures. See Patterson.Br.61-73; UST.Br.30-34. These arguments likewise are

 unavailing.




 10
   For instance, the Securities Plaintiffs think that the “most telling[]” signal that the
 Third-Party-Release Provision is impermissible is §523(a)(19), which creates an ex-
 ception from “discharge” for securities-laws violations committed by individual
 debtors. Patterson.Br.60-61; see also SEC.Amicus.Br.25-26. But that argument is
 “without merit,” for a discharge and a consensual settlement are simply not the same.
 Food Lion, Inc. v. S.L. Nusbaum Ins. Agency, Inc., 202 F.3d 223, 228 (4th Cir. 2000);
 see UST.App.2872.


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       The U.S. Trustee challenges the opt-out procedures as insufficient because

 “many parties” defined as “related parties” in the plan never received sufficient no-

 tice. UST.Br.18-19, 30-34. Even setting aside that “[n]o single party has come for-

 ward or been otherwise identified as being harmed,” UST.App.2897, the U.S. Trus-

 tee forfeited this argument by failing to timely raise it below. Unlike the Securities

 Plaintiffs and the SEC, the U.S. Trustee never raised any notice-related arguments

 while the bankruptcy court was considering the propriety of the Third-Party-Release

 Provision—not in his objection to the disclosure statement, not at the disclosure-

 statement hearing, not in his objection to the plan, not in his supplemental objection

 to the plan, and not at the confirmation hearing. See UST.App.693-717, 913, 942,

 2201-08, 2314-17, 2673-2784.

       The U.S. Trustee did not challenge the notice as inadequate until his motion

 for a stay, after the bankruptcy court had already confirmed the plan and approved

 the Third-Party-Release Provision. See UST.App.2891 (bankruptcy court noting in

 stay order that U.S. Trustee had “not raise[d] any concern regarding the form or

 manner of notice”). It is “well established” that an issue not preserved below “should

 generally not be considered on appeal,” including in a bankruptcy appeal to a district

 court. In re Johnson, 960 F.2d 396, 404 (4th Cir. 1992); see, e.g., In re IFS Fin.

 Corp., 803 F.3d 195, 204 n.13 (5th Cir. 2015) (“Neither this court nor a district court

 will review an issue presented for the first time on appeal of a bankruptcy court’s



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 decision.”); Confirmation Order at 9, Dkt.16, In re Diamond Offshore, No. 21-cv-

 1380 (S.D. Tex. Sept. 3, 2021) (“The Trustee did not raise this argument in the bank-

 ruptcy court. The argument is therefore waived.”). And it is likewise black-letter

 law that an issue is not preserved for appeal if it is first raised in the lower court after

 that court has issued its decision—e.g., in a stay motion. See, e.g., Russian Media

 Grp., LLC v. Cable Am., Inc., 598 F.3d 302, 308 (7th Cir. 2010) (declining to con-

 sider argument “raised … for the first time in [a] motion to stay”); Evanston Ins. Co.

 v. Cogswell Properties, LLC, 683 F.3d 684, 692 (6th Cir. 2012) (“Arguments raised

 for the first time in a motion for reconsideration are untimely and forfeited on ap-

 peal.”); Kiewit E. Co. v. L&R Const. Co., 44 F.3d 1194, 1204 (3d Cir. 1995) (“Courts

 often take a dim view of issues raised for the first time in post-judgment motions.”).

          Worse still, the notice-related argument that the U.S. Trustee now advances

 on appeal was not even the principal notice-related argument in his stay motion.

 Below, the U.S. Trustee chiefly argued that “the beneficial equity holders did not

 receive reasonable notice.” Bankr.Dkt.1962 at 10 (capitalization altered). But the

 U.S. Trustee has abandoned that argument in this Court.11 Instead, he now argues

 that the release is improper because a wide array of “related parties” (not just “ben-

 eficial equity holders”) never received any notice (not just “reasonable notice”).



 11
      The Securities Plaintiffs instead make this argument. See pp.72-73, infra.


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 That separate (and different) contention warranted only a single, conclusory sen-

 tence in the stay motion below, however, see Bankr.Dkt.1962 at 11, which fails to

 sufficiently present the issue to the bankruptcy court and preserve the issue for ap-

 peal. See Russell v. Absolute Collection Servs., Inc., 763 F.3d 385, 396 n.* (4th Cir.

 2014) (deeming “perfunctory and undeveloped claim” forfeited); Fuji Photo Film

 Co. v. Jazz Photo Corp., 394 F.3d 1368, 1377 (Fed. Cir. 2005) (“A few phrases in a

 stay motion … are not sufficient to apprise the … court that it must address another

 point of law.”). Moreover, the bankruptcy court understandably did not pass on that

 fleeting assertion in its stay order, see UST.App.2890 (stating only that “[t]he United

 States Trustee belatedly challenges the notice that was provided to equity security

 holders.”), which deprives this Court from serving its appellate role as a “court of

 review, not of first view,” Lovelace v. Lee, 472 F.3d 174, 203 (4th Cir. 2006). On

 multiple independent grounds, therefore, the U.S. Trustee has forfeited this argu-

 ment.12



 12
    Regardless, as this Court explained when denying the U.S. Trustee’s stay motion,
 the bankruptcy court did not clearly err in finding that Ascena “provided sufficient
 notice to all parties of the opportunity to opt-out.” Dkt.33 at 17-18. That conclusion
 is consistent with the fact that Ascena provided notice of the opt-out procedures to
 300,000 parties, not to mention the countless other parties who received publication
 notice through The New York Times and USA Today. See UST.App.2849, 2891.
 And as the U.S. Trustee does not dispute, even if a party complains that it did not
 receive adequate notice (which, unsurprisingly, has never occurred here), sufficient
 tools to resolve such issues already exist. See UST.App.2897 (“An adversely af-
 fected party could seek relief from the Confirmation Order in this Court on grounds

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       The Securities Plaintiffs take a different tack, but their notice-related argu-

 ments fare no better. In their view, Ascena provided “constitutionally deficient”

 notice to putative class members in the Securities Litigation who did not receive

 “actual notice” of the opt-out procedures. Patterson.Br.62 (emphasis omitted). But

 the Securities Plaintiffs unquestionably did receive “actual notice” of the opt-out

 procedures, so apart from the fact that they have suffered no direct, pecuniary injury,

 see pp.48-52, supra, they clearly lack standing to press this argument. See Gentry

 v. Siegel, 668 F.3d 83, 95 (4th Cir. 2012) (“The Named Claimants received actual,

 individualized notices, as did their attorneys, and they have made no complaint re-

 garding the notice provided to them. We decline their invitation to evaluate the ad-

 equacy of notice provided to the nonparty unnamed class members because the

 Named Claimants lack standing to raise the issue.”).

       Even aside from their standing problem, the Securities Plaintiffs notably do

 not challenge the bankruptcy court’s determination that “registered” shareholders

 received “actual notice of the opt-out procedures.” UST.App.2868; see Patter-

 son.App.5330. Instead, they confine their notice-related argument to putative class

 members who held Ascena shares through nominees. See Patterson.Br.64-65. In

 their view, Ascena itself should have “directly” notified those parties of the opt-out



 such as excusable neglect if the notice the party was given proves to have been ac-
 tually deficient.”).


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 procedures, rather than enlisting the assistance of “third part[y]” nominees, who had

 the option of notifying shareholders directly of the opt-out procedures or providing

 Ascena with shareholder contact information so that Ascena could effect such notice.

 Patterson.Br.65-66.

       As the bankruptcy court determined, this argument is a bait-and-switch that is

 “without merit.” UST.App.2869 n.24. At the disclosure-statement hearing, the

 bankruptcy court “inquired if the Securities … Plaintiffs were positioned to better

 serve the putative class,” but “they declined.” UST.App.2869 n.24. And in so de-

 clining, the Securities Plaintiffs explained that “this isn’t a case where it’s as simple

 as just giving [Ascena] a mailing list of who the class members are”; rather, it would

 “involve the debtors, through their claims and noticing agent, taking certain steps to

 distribute notices through nominee brokers.”          UST.App.2869 n.24 (emphasis

 added). There is no question that Ascena “complied exactly” with what the Securi-

 ties Plaintiffs recommended, thereby “employ[ing] all reasonable efforts to provide

 notice” to putative class members. UST.App.2869 & n.24. The Constitution re-

 quires nothing more. See Wells Fargo Bank, N.A. v. AMH Roman Two NC, LLC,

 859 F.3d 295, 303 (4th Cir. 2017) (“Due process ‘does not require actual notice.’

 Instead, it requires notice ‘reasonably calculated, under all the circumstances, to ap-

 prise interested parties of the pendency of the action and afford them an opportunity

 to present their objections.’”).



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       Unable to concoct a serious notice-related argument, the Securities Plaintiffs

 next challenge the substance of the opt-out forms that Ascena shareholders received,

 contending that the forms “were constitutionally deficient” because they did not spe-

 cifically reference the Securities Litigation. Patterson.Br.68-73 (emphasis omitted).

 But this issue, too, is forfeited because the Securities Plaintiffs did not timely assert

 it below. In their objection at the disclosure-statement stage (when the bankruptcy

 court approved the opt-out forms), the Securities Plaintiffs asserted only that the

 disclosure statement should reference the Securities Litigation, see UST.App.746-

 47—a request that Ascena promptly fulfilled, see UST.App.1030-31. The Securities

 Plaintiffs never contended that the opt-out forms should also reference the Securities

 Litigation—or were in any way “constitutionally deficient”—despite the fact that

 the disclosure-statement hearing focused heavily on suggested revisions to the opt-

 out forms. See UST.App.913-42.13

       Regardless, the Securities Plaintiffs’ argument fails on the merits. The Secu-

 rities Plaintiffs do not, and cannot, identify a single case in which a bankruptcy court

 concluded that the type of language included in the opt-out form here—which spe-




 13
   In objecting to the plan, the Securities Plaintiffs asserted that the opt-out form did
 not mention the Securities Litigation, but those complaints came weeks after the
 bankruptcy court had already approved the opt-out form. See UST.App.2240-41,
 2288-89.


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 cifically identified the kinds of claims subject to the Third-Party-Release Provi-

 sion—violates “due process obligations.” Patterson.Br.72. Furthermore, the opt-

 out form clearly explained that shareholders could obtain the disclosure statement

 (which, per the Securities Plaintiffs’ request, specifically discussed the Securities

 Litigation) through four different methods, including by simply visiting a website.

 See UST.App.1544. Particularly in combination with the emphasized warning to

 shareholders that they “will be deemed to have released whatever claims [they]

 may have against … company officers and directors” unless they opted-out,

 UST.App.1541, shareholders plainly were given a sufficient understanding of any

 potential “claims” and the ability to proceed with them by opting-out of the release.

                                    *       *    *

       As the foregoing demonstrates, Appellants badly miss the mark in challenging

 the bankruptcy court’s well-founded conclusion that the Third-Party-Release Provi-

 sion is consensual (and therefore not subject to Behrmann) and appropriate. Accord-

 ingly, although this appeal is equitably moot, the Third-Party-Release Provision eas-

 ily survives on the merits in any event.

       C.     In All Events, the Third-Party-Release Provision satisfies Beh-
              rmann.

       Even accepting the erroneous premise that the Third-Party-Release Provision

 must comply with Behrmann (either because Behrmann applies even to consensual




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 releases, or because the Third-Party-Release Provision is nonconsensual), the bank-

 ruptcy court correctly determined that it does so. As noted, in Behrmann, the Fourth

 Circuit “commend[ed]” various factors for bankruptcy courts to “consider[] … in

 th[e] context” of resolving objections to nonconsensual third-party-release provi-

 sions in Chapter 11 plans:

       (1) There is an identity of interests between the debtor and the third
       party, usually an indemnity relationship, such that a suit against the
       non-debtor is, in essence, a suit against the debtor or will deplete the
       assets of the estate; (2) The non-debtor has contributed substantial as-
       sets to the reorganization; (3) The injunction is essential to reorganiza-
       tion, namely, the reorganization hinges on the debtor being free from
       indirect suits against parties who would have indemnity or contribution
       claims against the debtor; (4) The impacted class, or classes, has over-
       whelmingly voted to accept the plan; (5) The plan provides a mecha-
       nism to pay for all, or substantially all, of the class or classes affected
       by the injunction; (6) The plan provides an opportunity for those claim-
       ants who choose not to settle to recover in full and; (7) The bankruptcy
       court made a record of specific factual findings that support its conclu-
       sions.

 663 F.3d at 711-12. Behrmann “le[ft] to a bankruptcy court the determination of

 which factors may be relevant in a specific case,” id. at 712, and the Fourth Circuit

 subsequently reiterated that “[a] debtor need not demonstrate that every … factor

 weighs in its favor,” Nat’l Heritage, 760 F.3d at 351. Instead, a bankruptcy court

 may approve a nonconsensual third-party-release provision if there are “specific fac-

 tual findings supporting its conclusion[]” that the provision is “warrant[ed].” Beh-

 rmann, 663 F.3d at 711, 713.




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       Here, the bankruptcy court appropriately identified the findings supporting a

 determination that the Behrmann factors are satisfied. See, e.g., UST.App.2874

 n.28.14 And although Appellants seek reversal, the odds are stacked against them.

 As the Fourth Circuit has explained, such findings may be reversed only if they are

 clearly erroneous. See Nat’l Heritage, 760 F.3d at 347. And the clear-error standard

 is an especially “demanding one”: A court “may not simply overturn a lower court’s

 determination because [it] would reach a different conclusion,” but rather only when


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    In denying the U.S. Trustee’s stay motion, this Court stated that the bankruptcy’s
 court’s “footnote” addressing the Behrmann factors “fall[s] far short of the required
 factual findings.” Dkt.33 at 11 n.3; see also SEC.Amicus.Br.24-25. Respectfully,
 that statement merits re-evaluation. The bankruptcy court incorporated by reference
 the detailed reasoning set forth in Ascena’s confirmation brief at UST.App.2391-95.
 Nothing in Behrmann precludes a bankruptcy court from engaging in that common
 practice, which still allows a higher court to undertake a “meaningful exercise of
 appellate review.” Behrmann, 663 F.3d at 712; see United States v. Gonzalez Edeza,
 359 F.3d 1246, 1249 (10th Cir. 2004) (finding no error where district court “incor-
 porated by reference” government’s brief regarding sentencing enhancement find-
 ings); In re Parks, 571 F.App’x 523, 526 (9th Cir. 2014) (“The bankruptcy court’s
 oral ruling, which incorporated by reference [appellee’s] post-trial brief, was ex-
 plicit enough to give us a clear understanding of its factual findings[.]”). A court
 “may ‘properly adopt a party’s arguments on a given issue instead of issuing an order
 setting out a free-standing elaboration of the court’s views.’” Jackson v. Fed. Exp.,
 766 F.3d 189, 199 (2d Cir. 2014). That rule is especially appropriate here since the
 bankruptcy court had already rejected the argument that Behrmann applies and was
 merely providing a belt-and-suspenders determination that would have otherwise
 taken many pages (in an already 40-page opinion) to fully articulate. Additionally,
 the court provided other reasoning relevant to the Behrmann analysis, even if it did
 not invoke the Behrmann decision in haec verba when doing so. At bottom, it makes
 little sense to remand just so the bankruptcy court can explicitly provide specific
 chapter-and-verse factual findings that Ascena has already advanced (and reiterates
 here), the court already adopted, and the parties have fully briefed on appeal.


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 “left with the definite and firm conviction that a mistake has been committed.” Bate

 Land, 877 F.3d at 198. Appellants come nowhere close to satisfying that standard

 here.15

       First, the bankruptcy court properly found an “identity of interests” between

 Ascena and the released parties, Behrmann, 663 F.3d at 711, because they all “share

 a common goal” in resolving this bankruptcy case expeditiously and also because

 Ascena is required to indemnify certain released parties under “pre- and postpetition

 credit facilities and existing corporate organizational documents,” such that a suit

 against those parties would essentially amount to a suit against Ascena (and would

 thereby deplete estate assets). UST.App.2392-93. That reasoning is entirely con-

 sistent with relevant precedent. See, e.g., Nat’l Heritage, 760 F.3d at 348 (explaining

 how an “indemnity obligation” can suffice for the first factor); In re Trib. Co., 464

 B.R. 126, 187 (Bankr. D. Del. 2011) (“[T]he Debtors and the Settling Parties share

 the common goal of confirming the … Plan and implementing the … Plan Settle-

 ment.”); Zenith, 241 B.R. at 110 (similar).

       Appellants do not dispute that Ascena and the released parties have an identity

 of interests based on their common objective or that Ascena has indemnification

 obligations. Instead, Appellants argue that satisfying the first Behrmann factor


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    It bears noting, moreover, that Appellants paint with a broad brush in discussing
 the Behrmann factors. Appellants repeatedly refer simply to the “Released Parties,”
 rather than establish that the factors are satisfied as to any particular Released Party.

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 “alone cannot suffice” and that Ascena had “insurance coverage” to cover some in-

 demnification claims. UST.Br.38; see Patterson.Br.76-77. And the Securities Plain-

 tiffs (but not the U.S. Trustee) further contend that Ascena “did not reorganize” and

 so any indemnity obligations that Ascena has could never affect Ascena’s estate.

 Patterson.Br.76. But the bankruptcy court never purported to justify the Third-Party-

 Release Provision based on the first Behrmann factor alone, and Appellants identify

 no evidence demonstrating that Ascena’s insurance would cover all claims currently

 barred by the Third-Party-Release Provision, such as claims against the lenders. See

 UST.App.2888. And setting aside that liquidating debtors have estates that are sub-

 ject to depletion too, this bankruptcy case differs from the majority of other “retail

 bankruptcies” precisely because it did not “result[] in liquidation[]”: “[T]he Ascena

 brand continues to live on in the face of a continuing global pandemic,” and “[t]he

 business remains a going concern.” UST.App.2902 & n.19.

       Second, the bankruptcy court properly found that the released parties “con-

 tributed substantial assets to the reorganization.” Behrmann, 663 F.3d at 711. In

 particular, the bankruptcy court explained that “each” of the released parties pro-

 vided “unwavering” support for an “outcome that will maximize recoveries for cred-

 itors and stakeholders,” UST.App.2394—for instance, by agreeing to release any

 potential claims that they held against Ascena, thereby providing material financial

 benefits to the restructuring, see, e.g., Patterson.App.7646 n.1 (“[T]he Third Party



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 Releases are mutual releases[.]”); UST.App.2895 n.15 (similar); see also

 UST.App.2901 (describing the “unquestionable” financial effects on Ascena’s estate

 if now-released claims are later filed); UST.App.2703 (Ascena’s then-President de-

 scribing the “significant work and time involved in evaluating the [potential] claim

 that would then deplete the assets of the estate”). Accordingly, this is simply not a

 situation where the released parties did not make “any financial contribution to the

 reorganization.” Nat’l Heritage, 760 F.3d at 348. Nor is that all, as other parties

 made additional contributions too. The secured lenders and parties associated with

 them, for example, plainly “invested substantial time and resources to achieve the

 result embodied in the Plan,” and Ascena’s directors and officers went above and

 beyond to ensure the best financial result for Ascena and other stakeholders, includ-

 ing by holding approximately 80 board meetings or “special committee” calls.

 UST.App.2393-94.

       Appellants protest that none of the released parties provided “any financial

 contribution to the case,” UST.Br.39, but they simply ignore that the Third-Party-

 Release Provision is mutual and thus that the released parties are shielding Ascena




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 and its estate from “expensive” litigation.16 UST.App.2844. Further, although Ap-

 pellants claim that contributing labor to a financially successful reorganization is

 “not sufficient” to satisfy the second factor, UST.Br.39; see Patterson.Br.77, that

 does not mean that such contributions are meaningless, especially when those con-

 tributions are not required by an employment or fiduciary relationship or when they

 led to a successful restructuring “in the midst of unprecedented economic turmoil,”

 UST.App.2856. And while the U.S. Trustee (but not the Securities Plaintiffs) con-

 tends that Ascena is categorically precluded from satisfying the second factor be-

 cause a “reorganization” is a prerequisite for that factor and Ascena “is not reorgan-

 izing,” UST.Br.39, that rehashed contention is impossible to square not only with

 the facts of this case (which proceeded under Chapter 11, not Chapter 7), but also

 with Behrmann’s general recognition that bankruptcy courts may approve third-

 party-release provisions “where circumstances warrant,” 663 F.3d at 711.

       Third, the bankruptcy court properly found that the Third-Party-Release Pro-

 vision is “essential to reorganization.” Id.; see UST.App.2394-95 (charactering

 Third-Party-Release Provision as “integral” and “necessary to the resolution” of




 16
   Litigation costs exist regardless of a suit’s merits. For example, the Securities
 Litigation was determined by the special committee of disinterested directors to be
 meritless, see p.15, supra, but defending against it is not cost-free.


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 Ascena’s bankruptcy case). As the court found after hearing the evidence, the re-

 leased parties “would not have agreed to make the substantial contributions to

 the … restructuring or the concessions embodied in the Plan”—e.g., releasing their

 own claims—“if they were not provided the certainty of” achieving released-party

 status. UST.App.2394-95; see UST.App.2781-82. Additionally, as the bankruptcy

 court likewise emphasized, the Third-Party-Release Provision “resolved indemnifi-

 cation claims against the estates” and “served to avoid entanglement of the estates

 in expensive and protracted post-confirmation litigation that could only delay and

 dilute the negotiated distributions.” UST.App.2844; see UST.App.2885-86, 2893-

 95 (similar); Patterson.App.7648 n.5 (similar). Thus, this case stands in marked

 contrast to others where reviewing courts could only guess why a third-party-release

 provision is important. Cf. Behrmann, 663 F.3d at 712.

       Appellants argue that the Third-Party-Release Provision is not “essential” be-

 cause (again) Ascena is purportedly liquidating rather than reorganizing and because

 insufficient evidence supports the bankruptcy court’s factual findings.           See

 UST.Br.40-41; Patterson.Br.78-79. And the Securities Plaintiffs additionally con-

 tend that, as in National Heritage, the plan’s “severability” provision suggests that

 it is viable without the Third-Party-Release Provision. Patterson.Br.79. But the third

 time is not the charm for Appellants’ liquidating-not-reorganizing argument, as they

 never explain why the Court should blind itself to the indisputable fact that the plan



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 is inextricably intertwined with a larger, “highly successful” Chapter 11 reorganiza-

 tion effort. UST.App.2902 n.19. Moreover, Appellants do not and cannot dispute

 that the uncontroverted evidence before the bankruptcy court—e.g., testimony from

 Ascena’s then-President and testimony from a disinterested Ascena director—con-

 firmed that the Third-Party-Release Provision is integral to the plan.             See

 UST.App.2885-86, 2888. And the Securities Plaintiffs’ strained analogy to National

 Heritage is fruitless, as the severability provision there provided that the plan could

 remain intact whenever a court invalidated it, even after confirmation. As already

 explained, no such provision exists in Ascena’s plan. See pp.15-16, 39, supra.

       Fourth, the bankruptcy court correctly found that parties “overwhelm-

 ingly … accept[ed]” the Third-Party-Release Provision. Behrmann, 663 F.3d at

 712. As the bankruptcy court explained, creditors “overwhelmingly voted to accept

 the plan, substantially all of the [Ascena’s] secured lenders support the Plan,

 and … the Creditors’ Committee affirmatively supports confirmation of the Plan.”

 UST.App.2395. Even more pertinent, “regardless of whether [parties] were entitled

 to vote on the Plan,” the Third-Party-Release Provision “only applies to parties who

 did not opt out or object to the Plan,” and parties “overwhelmingly approved” it

 when given the choice. UST.App.2867, 2872; cf. Nat’l Heritage, 760 F.3d at 350

 (contrasting Seventh Circuit decision where that court approved third-party-release




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 provision without conducting multi-factor balancing test because affected parties

 “could choose to grant, or not to grant, the release”).

       Appellants dispute these conclusions, but they offer no sound basis to reject

 them. Indeed, the U.S. Trustee either repeats notice-related arguments that he for-

 feited below or presses opt-out-related arguments that are wrong as a matter of law.

 See UST.Br.41; see also pp.63-66, 69-71, supra. Meanwhile, the Securities Plain-

 tiffs merely protest that the shareholder class “was deemed to reject the Plan” by

 operation of law, Patterson.Br.80; see §1126(g), but they never acknowledge that all

 shareholders received a separate opportunity to opt-out of the Third-Party-Release

 Provision specifically, which is the only relevant issue here.

       Finally, the bankruptcy court properly found that the plan “provides for the

 payment in full of all Allowed Administrative Claims and a meaningful recovery to

 most … creditors” affected by the Third-Party-Release Provision. UST.App.2395.17



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    Consistent with National Heritage, the bankruptcy court considered the fifth and
 sixth factors together. See UST.App.2395; contra UST.Br.42. As the bankruptcy
 court’s reasoning reflects, however, those factors are especially awkward in the con-
 text of a consensual third-party-release provision. Those factors—whether “[t]he
 plan provides a mechanism to pay for all, or substantially all, of the class or classes
 affected by the injunction” and whether “[t]he plan provides an opportunity for those
 claimants who choose not to settle to recover in full”—are premised on the notion
 that parties affected by the third-party-release provision have no choice but to seek
 recovery within the bankruptcy case. Behrmann, 663 F.3d at 712. The whole point
 of a voluntary third-party-release provision with an opt-out mechanism, however, is
 to allow parties to seek recovery outside of the bankruptcy case. Accordingly, as the
 bankruptcy court agreed, the more relevant assessment in this context is whether

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 Indeed, “[t]he evidence adduced at the Confirmation Hearing established that

 [Ascena] proposed [its] Plan to maximize the recovery to [its] creditors,” and it

 “achieved a remarkable result in the midst of unprecedented economic turmoil oc-

 casioned by the ongoing global COVID-19 pandemic that … hit the retail sector par-

 ticularly hard.” UST.App.2856. And there is no better proof that the parties affected

 by the Third-Party-Release Provision are satisfied with their recoveries than the fact

 that only three parties out of hundreds of thousands objected at confirmation, and

 the Third-Party-Release Provision did not directly affect a single one of them. See

 UST.App.2838. In fact, among the three objectors, that provision could only con-

 ceivably directly affect the Securities Plaintiffs—the other two objectors were gov-

 ernment parties—but given their decision to opt-out, it does not affect directly affect

 them at all.

       Appellants nonetheless contend that the bankruptcy court erred in finding that

 the plan provides an opportunity for parties affected by the Third-Party-Release Pro-

 vision to recover substantially in full, primarily on the ground that it provides “zero

 recovery” to shareholders, “whose rights against non-debtors for claims related to

 [Ascena] were terminated under the plan.” UST.Br.41-42; see Patterson.Br.80-71.

 But that reasoning again overlooks that those shareholders could elect to opt-out to



 parties who chose not to opt-out (i.e., those actually affected by the third-party-re-
 lease provision) received a meaningful recovery or consideration.


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 pursue their claims—exactly as the Securities Plaintiffs did. Cf. Phillips Petrol., 472

 U.S. at 813 (referencing the “rare species of class member who is unwilling to exe-

 cute an ‘opt out’ form, but whose claim is nonetheless so important that he cannot

 be presumed to consent to being a member of the class by his failure to do so”). And

 while the U.S. Trustee does not dispute that other affected classes received a mean-

 ingful recovery, he asserts—without citation to any authority—that this undisputed

 meaningful recovery is not enough. UST.Br.41 Such ipse dixit does not get the job

 done, particularly given that “no party with a pecuniary interest” is complaining that

 its recovery is inadequate. UST.App.2902 n.20.

        In sum, although the Behrmann factors plainly are not pertinent here, the

 bankruptcy court provided sufficient findings “in support of its decision to grant eq-

 uitable relief” anyway, 663 F.3d at 712, and Appellants have failed to overcome the

 extraordinarily demanding clear-error standard.

 III.   The Bankruptcy Court Properly Approved The Exculpation Provision.

        In addition to properly approving the Third-Party-Release Provision, the

 bankruptcy court also properly approved the Exculpation Provision. No party di-

 rectly affected by the Exculpation Provision disputes its validity on appeal, but the

 U.S. Trustee still asks this Court to “deem [it] unenforceable,” UST.Br.27, and

 thereby overturn the plan in toto, see UST.App.2667. Again, the Court need not




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 (and should not) address this issue in light of equitable mootness, but if it does, the

 Court should decline the U.S. Trustee’s remarkable request.

       A.     The Exculpation Provision is Limited and Appropriate.

       Exculpation provisions, like release provisions, are a product of a bankruptcy

 court’s equitable authority and often come standard in Chapter 11 plans. See, e.g.,

 Blixseth, 961 F.3d at 1085; UST.App.2398 n.104. “[E]xculpation provisions are

 included … frequently in chapter 11 plans” for good reason: “[S]takeholders all too

 often blame others for failures to get the recoveries they desire; seek vengeance

 against other parties; or simply wish to second guess the decision makers in the

 chapter 11 case.” Alpha, 556 U.S. at 261. Although an exculpation provision leaves

 exculpated parties—i.e., “skilled individuals” who “assist in the reorganization ef-

 forts”—exposed to litigation concerning serious misconduct, such a provision at

 least “assures them they will not be second-guessed and hounded by meritless

 claims,” id. at 260-61, based on purportedly “negligent actions,” Blixseth, 961 F.3d

 at 1084. Hence, so long as an exculpation provision is “properly limited and not

 overly broad,” it is “permissible.” In re Nat’l Heritage Found., Inc., 478 B.R. 216,

 233 (Bankr. E.D. Va. 2012).

       The Exculpation Provision here fits that description. The provision concerns

 only bankruptcy-related actions that occurred between the petition date and the

 plan’s effective date (i.e., July 23, 2020 to March 5, 2021). UST.App.2659. The



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 provision excludes conduct that amounts to “actual fraud, willful misconduct, or

 gross negligence.” UST.App.2659. And the provision applies only to a particular

 group of persons who “played a critical role” in this bankruptcy case.

 UST.App.2844. In other words, the provision accords with “numerous exculpation

 provisions” approved in other cases, and the bankruptcy court properly approved it

 here, especially given its importance to Ascena’s overall restructuring.

 UST.App.2875; see UST.App.2875 (“Without the Exculpation Provision, there is

 no evidence that the stakeholders would have been willing and able to reach such a

 successful negotiated result in these Bankruptcy Cases and as encapsulated by the

 Plan.”).

       B.    The U.S. Trustee’s Counterarguments Lack Merit.

       1. In refusing to accept this straightforward conclusion, the U.S. Trustee first

 argues that “[t]he bankruptcy court erred as a matter of law in failing to apply the

 Behrmann factors to the Exculpation [Provision].” UST.Br.43-44. In his view, be-

 cause Behrmann defined the third-party-release provision, exculpation provision,

 and injunction provision before it as “Release Provisions,” and then referred to the

 “Release Provisions” in the rest of the opinion, the multi-factor test that Behrmann

 set forth for nonconsensual third-party releases necessarily applies to exculpation

 provisions. This contention is unsound in numerous respects.




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       To begin with, notwithstanding the court’s initial shorthand, nothing in the

 balance of Behrmann remotely suggests that the court was concerned with or ad-

 dressing traditional exculpation provisions. Rather, the opinion addressed the cir-

 cumstances under which a bankruptcy court “may enjoin a non-consenting creditor’s

 claims against a non-debtor”—i.e., when a court may enforce a third-party-release

 provision. Behrmann, 663 F.3d at 711; see also id. at 710 (addressing “equitable

 relief in the form of nondebtor releases”); Balt. Teachers Union v. Mayor and City

 Council of Balt., 6 F.3d 1012, 1017 n.7 (4th Cir. 1993) (distinguishing between

 “shorthand” terminology and “primary emphasis” of an opinion). Indeed, the factors

 that Behrmann adopted make little sense in the context of a traditional exculpation

 provision, which merely “sets forth the applicable standard of liability” for future

 litigation, rather than “eliminat[ing]” liability “altogether.” PWS Holding Corp., 228

 F.3d at 247.18

       Furthermore, on remand in Behrmann, the bankruptcy court never considered

 the Behrmann factors when approving the exculpation provision and authorizing its



 18
   The “exculpation provision” in Behrmann stated that “Released Parties shall have
 no liability to Releasing Parties” and lacked carve-outs for claims of gross negli-
 gence, willful misconduct, or actual fraud. See Nat’l Heritage Found. Inc. v. Beh-
 rmann, 2013 WL 1390822, at *3 n.4 (E.D. Va. Apr. 3, 2013); Nat’l Heritage, 478
 B.R. at 224. Accordingly, unlike the Exculpation Provision here, it more closely
 resembled a third-party-release provision than a traditional exculpation provision,
 which may have explained the court’s shorthand at the outset.


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 enforcement through the injunction provision, see Nat’l Heritage, 478 B.R. at 232-

 34, and in the subsequent appeal, the Fourth Circuit found “no error in that judg-

 ment,” Nat’l Heritage, 760 F.3d at 346 n.2—even though, under the U.S. Trustee’s

 logic, the bankruptcy court should have applied the Behrmann factors to both the

 exculpation and injunction provisions. Nor is that result an anomaly: The U.S.

 Trustee has cited no case in which any court has ever interpreted Behrmann as ap-

 plying to any kind of exculpation provision. See, e.g., In re Neogenix Oncology,

 Inc., 508 B.R. 345, 361 (Bankr. D. Md. 2014) (considering exculpation provision

 without applying Behrmann factors); Alpha, 551 B.R. at 260-61 (same); Health Di-

 agnostic, 551 B.R. at 230-34 (same). And the leading treatise addresses Behrmann

 only in the context of third-party releases, not exculpation provisions. See 8 Collier

 ¶1141.02[5][c] & n.67; 2 Collier ¶105.04[2][b][ii][D] & n.113a. The U.S. Trustee’s

 theory that Behrmann applies to exculpation provisions is thus wholly lacking in any

 support and should be rejected.19

       2. The U.S. Trustee next pivots to a four-pronged argument that the bank-

 ruptcy court “abused its discretion” in approving the Exculpation Provision.

 UST.Br.45. Those contentions miss the mark, too.


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   In another argument never raised below, the U.S. Trustee suggests that the Excul-
 pation Provision contains “no exception for grossly negligent, or even intentional,
 conduct.” UST.Br.43. But given the plain language of that provision, the bank-
 ruptcy court interpreted it in the exact opposite manner. See UST.App.2874-75.


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       First, the U.S. Trustee asserts that exculpation provisions “should not extend

 further than estate fiduciaries,” which would purportedly provide a “limiting princi-

 ple to … otherwise statutorily unauthorized” exculpation provisions. UST.Br.45.

 But as the U.S. Trustee concedes, courts have disagreed with his view precisely be-

 cause they have recognized that such provisions are authorized by statutes that al-

 ready provide limiting principles and precisely because they understand that it is

 necessary to offer protection to a broader swath of persons who perform critical re-

 structuring-related functions. See, e.g., Blixseth, 961 F.3d at 1084 (citing §105(a)

 and §1123); see also Murray Metallurgical, 623 B.R. at 501-02 (citing same statu-

 tory provisions and other precedent and explaining that the U.S. Trustee’s proposed

 “limitation on exculpation provisions” “has not gained” broad “acceptance”).

       Second, the U.S. Trustee complains that the Exculpation Provision is “so

 broad that it extends to parties who performed no duties essential, necessary, or at

 all related to the cases.” UST.Br.46. But the bankruptcy court made contrary find-

 ings, including that the “efforts” of “the Exculpated Parties”—with no exceptions

 noted—“were and continue to be vital in both formulating and implementing the

 Plan.” UST.App.2875. The U.S. Trustee does not even acknowledge these findings,

 let alone argue that they are clearly erroneous. Further, as a practical matter, it is

 hard to understand why a plaintiff would ever bring a bankruptcy-case-related action

 against a party who “performed no duties essential, necessary, or at all related” to



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 the bankruptcy case—except, perhaps, to extract an in terrorem settlement by alleg-

 ing an easy-to-plead negligence suit, which is exactly what provisions like the Ex-

 culpation Provision are rightly designed to prevent. See Alpha, 556 B.R. at 260-61.

       On that note, it bears emphasizing that, even under the Exculpation Provision,

 all Exculpated Parties, including “non-estate fiduciaries” and parties who purport-

 edly “performed no duties essential” to the restructuring, can still be sued—just not

 for negligence. Here, for example, they can be sued for “actual fraud, willful mis-

 conduct, or gross negligence.” UST.App.2659-60. The U.S. Trustee never explains

 why provisions exculpating non-estate fiduciaries or non-involved parties are per-

 fectly fine so long as negligence suits can be brought, and only become verboten if

 negligence suits are off the table. No reason is apparent. Certainly there is nothing

 about the ability to bring a negligence suit that provides the “limiting principle” that

 the U.S. Trustee claims is necessary for a permissible exculpatory provision.

       Third, the U.S. Trustee insists that the Exculpation Provision at least should

 not “limit the liability of attorneys to their clients.” UST.Br.46. But, once again,

 the U.S. Trustee did not raise this argument below. See UST.App.711-13, 2207,

 2314-15. Nor does he offer any legal support for it now.

       Finally, the U.S. Trustee asserts that the bankruptcy court “abused its discre-

 tion” in declining to invoke Barton v. Barbour, 104 U.S. 126 (1881), and “in failing

 to … requir[e] a ‘gatekeeper function’ by which the court may, ‘in its discretion,



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 permit an action to go forward against the exculpated parties.’” UST.Br.46-47. Yet

 again, the U.S. Trustee never raised this argument below, and understandably so.

 The only relevant case that he cites discussing Barton and the “gatekeeper func-

 tion”—the remand decision in Behrmann—involved an exculpation provision that

 (unlike the one here) did not already carve-out claims for actual fraud, willful mis-

 conduct, or gross negligence but instead required a would-be plaintiff to “obtain[]

 the prior approval of the Bankruptcy Court to bring” suit. Nat’l Heritage, 478 B.R.

 at 224; pp.14, 87-88, supra. The Exculpation Provision here is materially different;

 it does not require the court to play any such role, and the carve-out serves the gate-

 keeping role that the U.S. Trustee claims is necessary—with the added benefit of

 providing certainty about the types of claims that can proceed past the gate.

       All told, as with the Third-Party-Release Provision, the U.S. Trustee provides

 no sound reason why this Court should upset the Exculpation Provision, particularly

 when every party directly affected by the plan apparently supports that provision.

 Indeed, the fact that the U.S. Trustee is seeking to overturn a commonplace provision

 that every other party in this complex restructuring case supports should raise eye-

 brows, for it suggests that the U.S. Trustee’s arguments are largely driven by the

 desire to advance and enshrine a policy position. And sure enough, in numerous

 recent cases, the U.S. Trustee has advanced similar arguments against similar excul-

 pation provisions and third-party releases, see, e.g., Am. Objection of U.S. Trustee



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 to Disclosure Statement at 10-25, Dkt.2572, In re Intelsat S.A., No. 20-32299

 (Bankr. E.D. Va. filed Aug. 6, 2021); Objection of U.S. Trustee to Confirmation at

 2-4, Dkt.1012, In re Le Tote, Inc., No. 20-33332 (Bankr. E.D. Va. filed Mar. 9,

 2021); Objection of U.S. Trustee to Confirmation at 4, Dkt.890, In re Pier 1 Imports,

 Inc., No. 20-30805 (Bankr. E.D. Va. filed July 23, 2020)—prompting one prominent

 bankruptcy judge to describe this “concerted policy drive by the U.S. Trustee” to

 “chip[] away at what can be done in a plan” as “incredibly inappropriate,” Confir-

 mation Hrg. Tr. at 13, Dkt.1235, In re Diamond Offshore Drilling, Inc., No. 20-

 32307 (Bankr. S.D. Tex. April 8, 2021) (confirming plan), aff’d, No. 21-cv-1380,

 Dkt.16 (S.D. Tex. Sept. 3, 2021). This Court should likewise reject the U.S. Trus-

 tee’s policy-driven efforts and uphold the Exculpation Provision.

 IV.   The Bankruptcy Court Did Not Abuse Its Discretion in Addressing Con-
       firmation Issues at the Confirmation Stage.

       In a last-ditch attempt to overturn the plan, the U.S. Trustee asserts that “[t]he

 bankruptcy court abused its discretion in how it conducted the disclosure statement

 and confirmation approval process.” UST.Br.47. This argument, too, is patently

 meritless.

       The U.S. Trustee first suggests that the bankruptcy court abused its discretion

 in declining to “second-guess” the “request made by [Ascena] and [its] secured lend-

 ers” for approval of the Third-Party-Release Provision. UST.Br.48. But the U.S.

 Trustee is egregiously misquoting the bankruptcy court. In reality, the bankruptcy


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 court stated that it would not “second guess the decision” of “general unsecured

 creditors” and “equity security holders” to decline to opt-out of the Third-Party-Re-

 lease Provision. UST.App.2871. And the bankruptcy court declined to do so be-

 cause “these constituents” received all of the information necessary to “make an in-

 formed decision” about that provision themselves. UST.App.2871. Thus, contrary

 to the U.S. Trustee’s mischaracterization, the bankruptcy court did not rubber-stamp

 a request from the “most powerful parties in the bankruptcy case” regarding the

 Third-Party-Release Provision; instead, the bankruptcy court simply respected the

 wishes of the “least powerful” parties. UST.Br.48.

       The U.S. Trustee additionally contends that the bankruptcy court abused its

 discretion in declining to resolve objections to the Third-Party-Release Provision “at

 the disclosure statement stage.” UST.Br.50-51. According to the U.S. Trustee, re-

 solving those objections at that juncture would have allowed “one of the objecting

 parties” to immediately pursue an interlocutory appeal, which would have avoided

 equitable-mootness concerns. UST.Br.50. As already explained, however, the U.S.

 Trustee agreed that the bankruptcy court should resolve those objections (including

 his) at the confirmation stage, see pp.16-17, supra, which is why he “resolved” his

 disclosure-statement    objections   before    the   disclosure-statement    hearing,

 UST.App.920 and “did not present argument at” that hearing, UST.Br.16 n.6—and

 could not plausibly have pursued an interlocutory appeal. In the end, the idea that



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 the bankruptcy court abused its discretion by following the U.S. Trustee’s lead

 “sounds absurd, because it is,” Sekhar v. United States, 570 U.S. 729, 738 (2013),

 and exemplifies all that is wrong with this appeal.

                                   CONCLUSION

       For the foregoing reasons, the Court should dismiss this appeal as equitably

 moot or, in the alternative, affirm the bankruptcy court.

                                               Respectfully submitted,

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                       CERTIFICATE OF COMPLIANCE

       I hereby certify that:

       1. This brief complies with this Court’s May 10, 2021 order because it con-

 tains 22,000 words, excluding the parts of the brief exempted by Fed. R. Bankr. P.

 8015(g), as determined by the word counting feature of Microsoft Word 2016.

       2. This brief complies with the typeface requirements of Fed. R. Bankr. P.

 8015(a)(5) and the typestyle requirements of Fed. R. Bankr. P. 8015(a)(6) because

 it has been prepared in a proportionally spaced typeface using Microsoft Word 2016

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 Date: September 10, 2021


                                                   /s/ Cullen D. Speckhart
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                          CERTIFICATE OF SERVICE

       I hereby certify that, on September 10, 2021, I electronically filed the forego-

 ing with the Clerk of the Court for the United States District Court for the Eastern

 District of Virginia by using the CM/ECF system. I certify that all participants in

 this case are registered CM/ECF users and that service will be accomplished by the

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